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                      EXHIBIT KK
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         CITY COUNCIL
         CITY OF NEW YORK

         ------------------------ X

         TRANSCRIPT OF THE MINUTES

                        of the

         STATED MEETING

         ------------------------ X

                                 April 22, 2020
                                 Start: 1:40 p.m.
                                 Recess: 4:45 p.m.


         HELD AT:                REMOTE HEARING

         B E F O R E:            Corey Johnson
                                 Speaker


         COUNCIL MEMBERS: Adrienne E. Adams
                          Alicka Ampry-Samuel
                          Diana Ayala
                          Inez D. Barron
                          Joseph C. Borelli
                          Justin Brannan
                          Fernando Cabrera
                          Margaret S. Chin
                          Costa Constantinides
                          Robert E. Cornegy, Jr.
                          Laurie A. Cumbo
                          Chaim M. Deutsch
                          Ruben Diaz, Sr.
                          Daniel Dromm
                          Rafael L. Espinal, Jr.
                          Mathieu Eugene
                          Vanessa L. Gibson
                          Mark Gjonaj
                          Barry Grodenchik
                          Robert Holden



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                                                                    2


                             Ben Kallos
                             Andy King
                             Peter Koo
                             Karen Koslowitz
                             Rory I. Lancman
                             Brad Lander
                             Stephen T. Levin
                             Mark Levine
                             Farah Louis
                             Alan N. Maisel
                             Steven Matteo
                             Carlos Menchaca
                             I. Daneek Miller
                             Francisco Moya
                             Bill Perkins
                             Keith Powers
                             Antonio Reynoso
                             Donovan J. Richards
                             Carlina Rivera
                             Ydanis Rodriguez
                             Deborah Rose
                             Helen K. Rosenthal
                             Rafael Salamanca, Jr.
                             Ritchie J. Torres
                             Mark Treyger
                             Eric A. Ulrich
                             Paul Vallone
                             Jimmy Van Bramer
                             Kalman Yeger
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                                                                    3




                    A P P E A R A N C E S (CONTINUED)
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       STATED MEETING                                               4
  1

  2                 MAJORITY LEADER CUMBO:      Good afternoon

  3    and welcome back to the Stated Meeting of April 22,
         d
  4    2020. We will now have the adoption of minutes by

  5    Council Member Powers.

  6                 COUNCIL MEMBER POWERS:      Thank you.     I

  7    now, thank you, Majority Leader, I now move the

  8    minutes of the Stated Meeting of February 11, 2020,

  9    and February 27.

 10                 LANCE POLIVY: Council Member Powers.

 11                 COUNCIL MEMBER POWERS:      Yes?

 12                 LANCE POLIVY: Can you please pause?

 13                 COUNCIL MEMBER POWERS:      Yes.

 14                 LANCE POLIVY: Madam Majority Leader.

 15                 MAJORITY LEADER CUMBO:      Yes?

 16                 LANCE POLIVY: I ask that you please state

 17    that meeting will stand at ease.

 18                 MAJORITY LEADER CUMBO:      The meeting will

 19    stand at ease at this time.

 20                 SPEAKER JOHNSON:     I believe we're having

 21    some technical issues with the feed, which is why

 22    we're standing at ease.      We want to just make sure

 23    that all council members have access as well as that

 24    it is live streaming appropriately.         So that is what

 25
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  1    STATED MEETING                                       5

  2    the staff is working on right now.        That is why we

  3    are standing at ease.

  4                 LANCE POLIVY: Mr. Parliamentarian?          Madam

  5    Majority Leader?

  6                 MAJORITY LEADER CUMBO:      Yes?

  7                 LANCE POLIVY: The technical issues are

  8    resolved.    You can now recognize Council Member

  9    Powers.

 10                 MAJORITY LEADER CUMBO:      We will now have

 11    the adoption of minutes by Council Member Powers.

 12                 COUNCIL MEMBER POWERS:      Right, second

 13    time.   I now move the Stated Meetings of February 11,

 14    2020, and February 27, 2020, be adopted as printed.

 15                 MAJORITY LEADER CUMBO:      Thank you.

 16    Messages and papers from the mayor.

 17                 COMMITTEE CLERK:     Communication from the

 18    mayor, M230 through M236, mayor's executive budget,

 19    expense, capital, and CD budgets with supporting

 20    schedules.

 21                 SPEAKER JOHNSON:     Finance.

 22                 COMMITTEE CLERK:     M237, city debt and

 23    reserves.

 24                 SPEAKER JOHNSON:     Received, ordered,

 25    printed, and filed.
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  1    STATED MEETING                                       6

  2                  COMMITTEE CLERK:    M238, withdrawing the

  3    name Amisha K. Butler for appointment to the New York

  4    City Tax Commission.

  5                  SPEAKER JOHNSON:    Received, ordered,

  6    printed, and filed.

  7                  MAJORITY LEADER CUMBO:       Communication

  8    from city, county, and borough offices.

  9                  COMMITTEE CLERK:    M239, communication

 10    from the chancellor submitting the proposed amendment

 11    to the fiscal year 2020 to 2024, five-year capital

 12    plan.

 13                  SPEAKER JOHNSON:    Referred to Finance.

 14                  MAJORITY LEADER CUMBO:       Petitions and

 15    communications.

 16                  SPEAKER JOHNSON:    None.

 17                  MAJORITY LEADER CUMBO:       Land use call-

 18    ups.

 19                  SPEAKER JOHNSON:    M240.    I will now ask

 20    the clerk to call the role for today's land use call-

 21    up.     This is just a vote on the land use call-up

 22    calendar right now.

 23                  COMMITTEE CLERK:    Adams.

 24                  COUNCIL MEMBER ADAMS:     Aye.

 25                  COMMITTEE CLERK:    Ampry-Samuel.
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  1    STATED MEETING                                       7

  2                 COUNCIL MEMBER AMPRY-SAMUEL:         Aye.

  3                 COMMITTEE CLERK:     Ayala.

  4                 COUNCIL MEMBER AYALA:      Aye.

  5                 COMMITTEE CLERK:     Barron.

  6                 COUNCIL MEMBER BARRON:        I vote aye.

  7                 COMMITTEE CLERK:     Borelli.

  8                 COUNCIL MEMBER BORELLI:       Aye.

  9                 COMMITTEE CLERK:     Brannan.

 10                 COUNCIL MEMBER BRANNAN:       Aye.

 11                 COMMITTEE CLERK:     Cabrera.

 12                 COUNCIL MEMBER CABRERA:       Aye.

 13                 COMMITTEE CLERK:     Chin.

 14                 COUNCIL MEMBER CHIN:      Aye.

 15                 COMMITTEE CLERK:     Cohen.

 16                 COUNCIL MEMBER COHEN:      I vote aye.

 17                 COMMITTEE CLERK:     Constantinides.

 18                 COUNCIL MEMBER CONSTANTINIDES:        I vote

 19    aye.

 20                 COMMITTEE CLERK:     Cornegy.

 21                 COUNCIL MEMBER CORNEGY:       Aye.

 22                 COMMITTEE CLERK:     Deutsch.

 23                 COUNCIL MEMBER DEUTSCH:       Aye.

 24                 COMMITTEE CLERK:     Diaz.

 25                 COUNCIL MEMBER DIAZ:      Aye.
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  1    STATED MEETING                                         8

  2                 COMMITTEE CLERK:     Dromm.

  3                 COUNCIL MEMBER DROMM:       Aye.

  4                 COMMITTEE CLERK:     Eugene.

  5                 COUNCIL MEMBER EUGENE:       Aye.

  6                 COMMITTEE CLERK:     Gibson.

  7                 COUNCIL MEMBER GIBSON:       I vote aye.

  8                 COMMITTEE CLERK:     Gjonaj.

  9                 COUNCIL MEMBER GJONAJ:       Aye.

 10                 COMMITTEE CLERK:     Grodenchik.

 11                 COUNCIL MEMBER GRODENCHIK:         Aye.

 12                 COMMITTEE CLERK:     Holden.

 13                 COUNCIL MEMBER HOLDEN:       Aye.

 14                 COMMITTEE CLERK:     Kallos.

 15                 COUNCIL MEMBER KALLOS:       Aye.

 16                 COMMITTEE CLERK:     King.

 17                 COUNCIL MEMBER KING:      Aye.

 18                 COMMITTEE CLERK:     Koo.

 19                 COUNCIL MEMBER KOO:      Aye.

 20                 COMMITTEE CLERK:     Koslowitz.

 21                 COUNCIL MEMBER KOSLOWITZ:        Aye.

 22                 COMMITTEE CLERK:     Lancman.

 23                 COUNCIL MEMBER LANCMAN:       Aye.

 24                 COMMITTEE CLERK:     Lander.

 25                 COUNCIL MEMBER LANDER:       Aye.
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   1   STATED MEETING                                       9

   2                 COMMITTEE CLERK:     Levin.

   3                 COUNCIL MEMBER LEVIN:      Aye.

   4                 COMMITTEE CLERK:     Levine.

   5                 COUNCIL MEMBER LEVIN:      I vote aye.

   6                 COMMITTEE CLERK:     Louis.

   7                 COUNCIL MEMBER LOUIS:      Aye.

   8                 COMMITTEE CLERK:     Maisel.

   9                 COUNCIL MEMBER MAISEL:       Yes.

  10                 COMMITTEE CLERK:     Menchaca.

  11                 COUNCIL MEMBER MENCHACA:       Aye.

  12                 COMMITTEE CLERK:     Miller.

  13                 COUNCIL MEMBER MILLER:       Aye.

  14                 COMMITTEE CLERK:     Moya.

  15                 COUNCIL MEMBER MOYA:      Aye.

  16                 COMMITTEE CLERK:     Perkins.

  17                 COUNCIL MEMBER PERKINS:        Aye.

  18                 COMMITTEE CLERK:     Powers.

  19                 COUNCIL MEMBER POWERS:       Aye.

  20                 COMMITTEE CLERK:     Reynoso.

  21                 COUNCIL MEMBER REYNOSO:       Aye.

  22                 COMMITTEE CLERK:     Richards.

  23                 COUNCIL MEMBER RICHARDS:       Aye.

  24                 COMMITTEE CLERK:     Rivera.

  25                 COUNCIL MEMBER RIVERA:       Aye.
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   1   STATED MEETING                                        10

   2                 COMMITTEE CLERK:     Rodriguez.

   3                 COUNCIL MEMBER RODRIGUEZ:        Aye.

   4                 COMMITTEE CLERK:     Rose.

   5                 COUNCIL MEMBER ROSE:      Aye.

   6                 COMMITTEE CLERK: Rosenthal.

   7                 COUNCIL MEMBER ROSENTHAL:        Aye.

   8                 COMMITTEE CLERK:     Salamanca.

   9                 COUNCIL MEMBER SALAMANCA:        Aye.

  10                 COMMITTEE CLERK:     Torres.

  11                 COUNCIL MEMBER TORRES:       Aye.

  12                 COMMITTEE CLERK:     Treyger.

  13                 COUNCIL MEMBER TREYGER:       Aye.

  14                 COMMITTEE CLERK:     Ulrich.

  15                 COUNCIL MEMBER ULRICH:       I vote aye.

  16                 COMMITTEE CLERK:     Vallone.

  17                 COUNCIL MEMBER VALLONE:        Aye.

  18                 COMMITTEE CLERK:     Van Bramer.

  19                 COUNCIL MEMBER VAN BRAMER:        I vote aye.

  20                 COMMITTEE CLERK:     Yeger.

  21                 COUNCIL MEMBER YEGER:      I vote aye.

  22                 COMMITTEE CLERK:     Mattel.

  23                 MINORITY LEADER MATTEO:       Aye.

  24                 COMMITTEE CLERK:     Cumbo.

  25                 MAJORITY LEADER CUMBO:        I vote aye.
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   1   STATED MEETING                                       11

   2                 COMMITTEE CLERK:     Speaker Johnson.

   3                 SPEAKER JOHNSON:     I vote aye.

   4                 COMMITTEE CLERK:     Today's land use call-

   5    ups vote is 50 in the affirmative and zero in the

   6    negative.

   7                 MAJORITY LEADER CUMBO:      Today's land use

   8    call-up is adopted.     We will now have communication

   9    from Speaker Corey Johnson, and I would like to thank

  10    him for his incredible work in keeping this body

  11    together and organizing this unprecedented meeting

  12    today.   Speaker Corey Johnson.

  13                 SPEAKER JOHNSON:     Thank you, Madam

  14    Majority Leader.     Good afternoon, everyone.      I am so

  15    proud of the work that we are doing together despite

  16    these physical challenges that we are facing right

  17    now, and I want to thank each council staff member

  18    who has put in countless hours to make this happen.

  19    This is an extraordinary Stated Meeting because it

  20    shows the council's commitment to public service.            We

  21    were elected to serve our constituents in all 51

  22    council districts, and our mission is to come

  23    together to create and pass legislation to help all

  24    New Yorkers in our diverse city, and that is needed

  25    now more than ever.     This crisis has exposed so many
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   1   STATED MEETING                                       12

   2    of the structural racial and income inequities that

   3    plague New York City, inequities in our healthcare

   4    system, in our governance, and in our schools.           And

   5    it is my sincerest hope that through this tragedy we

   6    will find opportunities to address these long-

   7    standing inequities to build a better New York City.

   8    This is what we owe to more than 14,000 New Yorkers

   9    who have died from this terrible virus, and that work

  10    begins with this Stated Meeting today.         I mentioned

  11    earlier the enormous losses of life that we have

  12    suffered as a city in the last money or so and I'd

  13    like to take a moment to acknowledge two former

  14    council members who we lost in this pandemic.            Arlene

  15    Stringer Cuevas, who represented Washington Heights

  16    and is the mother of City Comptroller Scott Stringer,

  17    and Noach Dear, who represented Midwood, Borough

  18    Park, and Bensonhurst.      We extend our condolences to

  19    their families.     I also want to express condolences

  20    on the passing of Council Member Salamanca's father.

  21    Rafael Salamanca Sr. died of coronavirus on April 3,

  22    and we are sending you, Rafael, and your family our

  23    love.   In addition, I want to acknowledge that

  24    Council Members Torres, Barron, Levin,

  25    Constantinides, Vallone, and Grodenchik, and I
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   1   STATED MEETING                                       13

   2    believe Ayala, have all been sickened by COVID-19.             I

   3    am grateful that they are with us today and back to

   4    serving their constituents.       As we do during each

   5    stated, I would also like to acknowledge those who

   6    have died from 9/11-related illnesses since our last

   7    meeting.   Retired FDNY firefight Steve Brickman died

   8    on April 12 of 9/11-related illnesses.         He was 57

   9    years old.    Sergeant Sean Cameron, a retired member

  10    of the department, recently lost his battle with

  11    9/11-related cancer on April 8.       He was 52 years old.

  12    I want to take a moment of silence for former Council

  13    Member Arlene Stringer Cuevas, Council Member Noach

  14    Dear, Rafael Salamanca Sr., Firefighter Brickman,

  15    Sergeant Sean Cameron, as well as all of those who we

  16    have lost in our city and state and all over the

  17    world who have succumbed to this terrible virus.             May

  18    we please now have a moment of silence.         [moment of

  19    silence]     Thank you.   Today is Earth Day and it marks

  20    the 50th anniversary of the celebration of our planet

  21    and the fight for environmental protections.          We are

  22    experiencing a terrible public health crisis right

  23    now, but we can't forget about the other work, the

  24    other important work we have to do to protect our

  25    plant and New York City has some of the strongest
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   1   STATED MEETING                                       14

   2    policies in the country to protect the environment

   3    and the council will continue to push for bold change

   4    in this area in order to make sure our city and

   5    planet are strong for decades to come.         This Friday

   6    we usher in the holy month of Ramadan.         I want to

   7    wish all of those celebrating a very generous

   8    Ramadan.    New York City's Muslim community has

   9    contributed so much to our cultural fabric.         So let

  10    us all take this month to remember the contributions

  11    of Muslim New Yorkers who weren't able to meet, but I

  12    hope everyone had a good Passover and a nice Easter

  13    during this really important time in our city.           And

  14    my last item before we get to our legislative agenda,

  15    I said it before, but I want to wish a happy birthday

  16    to Council Member Ruben Diaz, Sr.        OK, let's dive

  17    into our legislative agenda.       As New York City's

  18    affordable housing crisis deepens urgent action must

  19    be taken.    The council is voting on a number of items

  20    that will preserve and establish affordable housing.

  21    I detailed most of those items just a few moments ago

  22    during the Committee of the Whole Meeting.         So in the

  23    interest of time I will not repeat those descriptions

  24    now.   But in addition to voting to those items as a

  25    full council we will also vote on several other
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   1   STATED MEETING                                       15

   2    measures and they are as follows - a rezoning at 271

   3    Seabreeze Avenue to allow commercial use, in Council

   4    Member Deutsch's district; a rezoning at 8118 13th

   5    Avenue, in Council Member Brannan's district to

   6    legalize an existing office; the Queens Boulevard MIH

   7    text amendment in Council Members Holden's and Van

   8    Bramer's districts to facilitate two new residential

   9    developments, including mandatory inclusionary

  10    housing; a Health and Hospitals lease at the Seaview

  11    campus for a residential substance program in

  12    Minority Leader Steven Matteo's district; a

  13    rescission of a landmark in Chair Salamanca's

  14    district; and the landmark designations of Tin Pan

  15    Alley buildings at 47 through 55 West 28th Street in

  16    the district that I represent.       Also, an amendment to

  17    a previously approved tax exemption at Cooper Square

  18    MHA for property in Council Member Rivera's district

  19    to allow community facility use for 327 affordable

  20    cooperative units in a community land trust.          With

  21    that, I turn it back over to you, Madam Majority

  22    Leader.

  23                 MAJORITY LEADER CUMBO:      Thank you,

  24    Speaker Johnson.     We will now move into discussion of

  25    general orders.     We will first recognize council
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   1   STATED MEETING                                       16

   2    members who signed up by email, and then recognize

   3    members who wish to speak by using the raise hand

   4    function in Zoom.     I just want to remind all members

   5    to raise your hand and please wait for remarks for

   6    our Sergeant at Arms to announce he has begun the

   7    countdown clock.     The Sergeant at Arms will alert you

   8    when your time has expired.

   9                 SPEAKER JOHNSON:     And just to remind

  10    folks, this is to speak on the items that we are

  11    voting on today.

  12                 LANCE POLIVY: Madam Majority Leader.

  13                 MAJORITY LEADER CUMBO:      Yes.

  14                 LANCE POLIVY: Council members Rodriguez,

  15    Ampry-Samuel, and Van Bramer are the first to sign

  16    up.

  17                 MAJORITY LEADER CUMBO:      We will begin in

  18    the order that was just spoken of.

  19                 SERGEANT AT ARMS:     Council Member

  20    Rodriguez, your time is starting now.

  21                 COUNCIL MEMBER RODRIGUEZ:

  22    Yes,[inaudible] lead by Speaker Johnson and Council

  23    Member Carlina Rivera on the 75 mile history that we

  24    should be dedicated more for, to pedestrian and

  25    cyclist.   I would like for all, all of us to join
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   1   STATED MEETING                                       17

   2    into that effort.     Other city had done it.      New York

   3    City should do it, too.      This is the opportunity that

   4    as we are celebrating Earth Day we should show our

   5    commitment to dedicate more streets to pedestrian and

   6    cyclist.   Second, I would like to also say thank you

   7    to Council Member Constantinides for allowing me to

   8    be a co-prime in the resolution that we are calling

   9    to support Council Member, I mean, Senator Gennaro

  10    and Senator Gustavo Rivera, who are looking to get

  11    the state legislature to pass a bill and for the

  12    governor to sign that will provide free rents for

  13    three months to tenants and, and tenants and small

  14    business owner.     Eh [speaking in Spanish]...

  15                 SERGEANT AT ARMS:     30 seconds.

  16                 COUNCIL MEMBER RIVERA: [speaking in

  17    Spanish] Thank you.

  18                 SPEAKER JOHNSON:     Madam Majority Leader,

  19    I just want to, thank you, Council Member Rodriguez,

  20    I just want to remind members we are discussing now,

  21    this is a, a discussion of the things that we are

  22    voting on, ah, today.      For other items of bills that

  23    are being introduced if folks can hold that until

  24    general discussion at the end of the meeting, as we

  25    always do, ah, at the Stated Meeting of the Council,
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   1   STATED MEETING                                       18

   2    that would be the best time to discuss bills that are

   3    being introduced or other items.        I turn it back to

   4    you, Madam Majority Leader.

   5                 MAJORITY LEADER CUMBO:      Thank you, and

   6    our next Council Member that was identified to speak.

   7                 COUNCIL MEMBER AMPRY-SAMUEL:       Thank you,

   8    everyone.

   9                 SERGEANT AT ARMS:     Council Member...

  10                 COUNCIL MEMBER AMPRY-SAMUEL:       Thank you,

  11    everyone.

  12                 SERGEANT AT ARMS:     Council Member, your

  13    time is starting now.

  14                 COUNCIL MEMBER AMPRY-SAMUEL: Um, in the

  15    interest of time I posted my statement to social

  16    media and it was in reference to the vote that we

  17    just took during the Committee of the Whole.          Thank

  18    you, everyone.

  19                 MAJORITY LEADER CUMBO:      Thank you.      Next.

  20                 SERGEANT AT ARMS:     Council Member, your

  21    time is starting now.

  22                 COUNCIL MEMBER VAN BRAMER:       Thank you.

  23    Ah, first I want to say that on this Earth Day there

  24    are a few things that we can do as important as

  25    ending car culture as we know it.        So I wanted to
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   1   STATED MEETING                                       19

   2    particularly praise, ah, Speaker Johnson and Council

   3    Member Rivera for their, ah, bill, ah, and for their,

   4    ah, legislation calling for 75 miles of car-free

   5    roads in it city during the crisis.        But I also want

   6    to say that we should begin by closing the south

   7    outer roadway of the Queensboro Bridge, which has

   8    been an immediate crisis affecting so may people.            We

   9    can do that and we should do that, ah, already if

  10    before that.    Ah, and I just also want to say I am

  11    calling in from the great borough of Queens, which

  12    might be one of the hardest-hit places in the world,

  13    but there's no place I'd rather be than in this

  14    borough with the greatest people on the face of the

  15    earth as we fight through this crisis in Queens, ah,

  16    and, and lastly, before I joined call I joined a Zoom

  17    funeral for Mayer Gomoras who was someone who helped

  18    raise me.    Ah, the first Zoom funeral I have ever had

  19    to attend.    Um, and he was my constituent, but he

  20    also helped raise me, ah, the, the father of...

  21                 SERGEANT AT ARMS:     30 seconds.

  22                 COUNCIL MEMBER VAN BRAMER: ...my

  23    childhood best friend.      So, ah, he's being buried as

  24    we speak, so I want to say on behalf of Mayer Gomoras

  25    and all of those that we've lost, ah, you're in my
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   1   STATED MEETING                                       20

   2    heart forever and I am forever grateful for the role

   3    that you played in my life.       Thank you [inaudible].

   4                 SPEAKER JOHNSON:     Thank you, Jimmy.

   5                 LANCE POLIVY: Madam Majority Leader.        The

   6    next three speakers are Council Members Miller,

   7    Cabrera, and Menchaca.

   8                 MAJORITY LEADER CUMBO:      Thank you.

   9                 SERGEANT AT ARMS:     Council Member Miller,

  10    your time is starting now.

  11                 SPEAKER JOHNSON:     Did we unmute Council

  12    Member Miller?

  13                 SERGEANT AT ARMS:     I have restarted the

  14    clock.    Whenever you're ready, Mr. Council Member

  15    Miller.

  16                 SPEAKER JOHNSON:     Ah, hold on one second.

  17    I don't see, Council Member Miller, are you there?

  18    Let's go to the next Council Member and then we can

  19    get back to Council Member Miller.

  20                 LANCE POLIVY: Council Member Cabrera,

  21    followed by Menchaca, followed by Miller.

  22                 SERGEANT AT ARMS:     Council Member

  23    Menchaca, Council Member Cabrera, your time is

  24    starting now.

  25
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   1   STATED MEETING                                       21

   2                 COUNCIL MEMBER CABRERA:      Yes, for the

   3    interest of time, ah, I'm gonna do a pass.         Thank you

   4    so much.

   5                 SPEAKER JOHNSON:     Thank you, Council

   6    Member.

   7                 MAJORITY LEADER CUMBO:      Council Member

   8    Menchaca.

   9                 SERGEANT AT ARMS:     Council Member

  10    Menchaca, your time is starting now.

  11                 COUNCIL MEMBER MENCHACA:      Thank you all

  12    and, ah, I want to just go a little bit further in my

  13    statements around the land use items.        Ah, there are

  14    16 land use actions.     Ah, I was able to connect with

  15    some of you about what those actions are doing in the

  16    districts that you represent and really just offer

  17    support.    I think what's really important here that

  18    the work that happened before each of these land use

  19    actions were in pre-COVID times and, and I just want

  20    to continue to ask that question, ah, community

  21    boards made decisions in pre-COVID times and COVID

  22    has transformed everything, and so I want to just

  23    keep mindful of that.      Um, the work that our

  24    neighborhoods do every day to support that work, um,

  25    at the neighborhood level is just so important, and
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   1   STATED MEETING                                       22

   2    our work to connect to that is great and important as

   3    well.   Um, so you all know that ULURP is not my

   4    favorite thing in the world.       I think I have a lot of

   5    issues with it in general.       Um, so I would prefer

   6    that we really spend time thinking about it, and want

   7    to think about it with you on the ground.         And so

   8    with that, um, ah, I vote aye.

   9                 MAJORITY LEADER CUMBO:       Thank you,

  10    Council Member Menchaca.      Do we now have Council

  11    Member Miller available?

  12                 SERGEANT AT ARMS:     He's not available

  13    yet.

  14                 SPEAKER JOHNSON:     OK, who's next?

  15                 LANCE POLIVY: No other members have

  16    signed up for discussion of general orders.

  17                 SPEAKER JOHNSON:     If Council Member

  18    Miller comes back he can of course, ah, make his

  19    statement when it is the time to vote during his

  20    voting time.    Ah, thank you.

  21                 MAJORITY LEADER CUMBO:       Thank you, and so

  22    we will allow Council Member Miller to speak, um, at

  23    a later time.    We will now move on to the report of

  24    special committees.

  25                 SPEAKER JOHNSON:     None.
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   1   STATED MEETING                                       23

   2                 MAJORITY LEADER CUMBO:      Reports of

   3    standing committees.

   4                 COMMITTEE CLERK:     Report of the Committee

   5    on Land Use, LU 617 and Reso 1290, Seaview Campus.

   6                 SPEAKER JOHNSON:     Coupled on general

   7    orders.

   8                 COMMITTEE CLERK:     LUs 618 through 622 and

   9    accompanying Resos, Tin Pan Alley.

  10                 SPEAKER JOHNSON:     Coupled on general

  11    orders.

  12                 COMMITTEE CLERK:     LUs 623 and Reso 1296,

  13    landmark designation rescission, PS-31.

  14                 SPEAKER JOHNSON:     Coupled on general

  15    orders.

  16                 COMMITTEE CLERK:     LUs 627, 271, Seabreeze

  17    Avenue.

  18                 SPEAKER JOHNSON:     Approved with

  19    modifications and referred to the City Planning

  20    Commission pursuant to Section 197-D of the New York

  21    City Charter.

  22                 COMMITTEE CLERK:     LUs 630 and Reso 1297,

  23    13th Avenue rezoning.

  24                 SPEAKER JOHNSON:     Coupled on general

  25    orders.
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   1   STATED MEETING                                       24

   2                 COMMITTEE CLERK:     LU 631, Queens

   3    Boulevard text amendment.

   4                 SPEAKER JOHNSON:     Approved with

   5    modifications and referred to the City Planning

   6    Commission pursuant to Section 197-D of the New York

   7    City Charter.

   8                 COMMITTEE CLERK:     LU 640 and Reso 1298,

   9    Cooper Square.

  10                 SPEAKER JOHNSON:     Coupled on general

  11    orders.

  12                 COMMITTEE CLERK:     Report of the Committee

  13    of the Whole, Intro 1854, downtown Flushing Transit

  14    Hub bid.

  15                 SPEAKER JOHNSON:     Coupled on general

  16    orders.

  17                 COMMITTEE CLERK:     Preconsidered LU 646

  18    and Reso 1299, 1898 Harrison Avenue.

  19                 SPEAKER JOHNSON:     Coupled on general

  20    orders.

  21                 COMMITTEE CLERK:     Preconsidered LU 647

  22    and Reso 1300, Grace Senior Housing.

  23                 SPEAKER JOHNSON:     Coupled on general

  24    orders.

  25
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   1   STATED MEETING                                       25

   2                 COMMITTEE CLERK:     Preconsidered LU 648

   3    and Reso 1301, HP Morningside Heights.

   4                 SPEAKER JOHNSON:     Coupled on general

   5    orders.

   6                 COMMITTEE CLERK:     Preconsidered LU 649

   7    and Reso 1302, Turn House.

   8                 SPEAKER JOHNSON:     Coupled on general

   9    orders.

  10                 COMMITTEE CLERK:     Preconsidered LU 650

  11    and Reso 1303, Schreiber.

  12                 SPEAKER JOHNSON:     Coupled on general

  13    orders.

  14                 COMMITTEE CLERK:     Preconsidered LU 651

  15    and Reso 1304, East 169th Street.

  16                 SPEAKER JOHNSON:     Coupled on general

  17    orders.

  18                 COMMITTEE CLERK:     Preconsidered LU 652

  19    and Reso 1305, Amron House.

  20                 SPEAKER JOHNSON:     Coupled on general

  21    orders.

  22                 COMMITTEE CLERK:     Preconsidered LU 653

  23    and Reso 1306, Belmont [inaudible].

  24                 SPEAKER JOHNSON:     Coupled on general

  25    orders.
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   1   STATED MEETING                                       26

   2                 COMMITTEE CLERK:     Preconsidered LU 654

   3    and Reso 1307, Manhattan Avenue Apartments.

   4                 SPEAKER JOHNSON:     Coupled on general

   5    orders.

   6                 COMMITTEE CLERK:     LU 616 and Reso 1308,

   7    East Seventh Street.

   8                 SPEAKER JOHNSON:     Coupled on general

   9    orders.

  10                 COMMITTEE CLERK:     LU 626 and Reso 1309,

  11    Gansevoort Street.

  12                 SPEAKER JOHNSON:     Coupled on general

  13    orders.

  14                 COMMITTEE CLERK:     LU 628 through 629,

  15    Grant Avenue and Pacific Street rezoning.

  16                 SPEAKER JOHNSON:     Approved with

  17    modifications and referred to the City Planning

  18    Commission pursuant to Section 197-D of the New York

  19    City Charter.

  20                 COMMITTEE CLERK:     LUs 637 through 639,

  21    and accompanying Resos, Rochester [inaudible].

  22                 SPEAKER JOHNSON:     Coupled on general

  23    orders.

  24                 COMMITTEE CLERK:     LUs 641 through 642,

  25    52nd Street rezoning.
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   1   STATED MEETING                                       27

   2                 SPEAKER JOHNSON:     Approved with

   3    modifications and referred to the City Planning

   4    Commission pursuant to Section 197-D of the New York

   5    City Charter.

   6                 COMMITTEE CLERK:     LUs 643 through 644 and

   7    accompanying Resos, 90 Sand Street rezoning.

   8                 SPEAKER JOHNSON:     Coupled on general

   9    orders.

  10                 COMMITTEE CLERK:      Preconsidered LU 655

  11    and Reso 1315, the 364 Avenue of the Americas

  12    rezoning.

  13                 SPEAKER JOHNSON:     Coupled on general

  14    orders.

  15                 COMMITTEE CLERK:     Preconsidered LU 656

  16    and Reso 1316, River Crossing.

  17                 SPEAKER JOHNSON:     Coupled on general

  18    orders.

  19                 COMMITTEE CLERK:     Preconsidered LU 657

  20    and Reso 1317, 461 Alabama Avenue.

  21                 SPEAKER JOHNSON:     Coupled on general

  22    orders, on the general order calendar.

  23                 COMMITTEE CLERK:     LU 627 and Reso 1318,

  24    Seabreeze Avenue.

  25
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   1   STATED MEETING                                       28

   2                 SPEAKER JOHNSON:     Coupled on general

   3    orders.

   4                 COMMITTEE CLERK:     LU 631 and Reso 1319,

   5    Queens Boulevard.

   6                 SPEAKER JOHNSON:     Coupled on general

   7    orders.   And at this time I'm asking the clerk to

   8    please have a roll call vote on all of the items

   9    coupled on the general order calendar, all the items

  10    that we just went through.      Mr. Clerk, I'm requesting

  11    a roll call vote on all of those items.

  12                 LANCE POLIVY: Mr. Speaker.

  13                 COMMITTEE CLERK:     Adams.    Excuse me.

  14                 SPEAKER JOHNSON:     Yes, Mr.

  15    Parliamentarian.

  16                 LANCE POLIVY: Before we begin our role

  17    call vote I believe Council Member Miller is now back

  18    on the line.    We may want to give him an opportunity

  19    to speak before voting.

  20                 SPEAKER JOHNSON:     Yes.     Yes, before we

  21    vote I would like to recognize Council Member Daneek

  22    Miller to speak.

  23                 SERGEANT AT ARMS:     Council Member Miller,

  24    your time is starting now.

  25
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   1   STATED MEETING                                       29

   2                  COUNCIL MEMBER MILLER:       Um, I'm sorry,

   3    ah, could we, could we, ah, ah, put that to general

   4    discussion?

   5                  SPEAKER JOHNSON:    Yes, sir.

   6                  COUNCIL MEMBER MILLER:       I would greatly

   7    appreciate it.

   8                  SPEAKER JOHNSON:    Yep.

   9                  COUNCIL MEMBER MILLER:      Thank you so very

  10    much.

  11                  SPEAKER JOHNSON:    Thank you, Council

  12    Member.   I request a role call vote on all the items

  13    on today's general order calendar, Mr. Clerk.

  14                  COMMITTEE CLERK:    Council Member Adams.

  15                  COUNCIL MEMBER ADAMS:      Aye on all.

  16                  COMMITTEE CLERK:    Ampry-Samuel.

  17                  COUNCIL MEMBER AMPRY-SAMUEL:       Aye on all.

  18                  COMMITTEE CLERK:    Ayala.

  19                  COUNCIL MEMBER AYALA:      Aye on all.

  20                  COMMITTEE CLERK:    Barron.

  21                  COUNCIL MEMBER BARRON:       I vote aye on all

  22    and I do request to be added to the general

  23    discussion list.     Thank you.

  24                  COMMITTEE CLERK:    Borelli.

  25
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   1   STATED MEETING                                        30

   2                 COUNCIL MEMBER BORELLI:       I vote aye on

   3    all.

   4                 COMMITTEE CLERK:     Brannan.

   5                 COUNCIL MEMBER BRANNAN:       Aye on all.

   6                 COMMITTEE CLERK:     Cabrera.

   7                 SERGEANT AT ARMS:     Can we please put your

   8    phones to vibrate, please.

   9                 COUNCIL MEMBER CABRERA:       Aye, aye on all,

  10    and please add me to the discussion list.         Thank you.

  11                 COMMITTEE CLERK:     Chin.

  12                 COUNCIL MEMBER CHIN:      Aye on all.

  13                 COMMITTEE CLERK:     Cohen.

  14                 COUNCIL MEMBER COHEN:      Aye.

  15                 COMMITTEE CLERK:     Constantinides.

  16                 COUNCIL MEMBER CONSTANTINIDES:       Aye on

  17    all, and please add me to the discussion list.

  18                 COMMITTEE CLERK:     Cornegy.

  19                 COUNCIL MEMBER CORNEGY:       Aye.

  20                 COMMITTEE CLERK:     Deutsch.

  21                 COUNCIL MEMBER DEUTSCH:       Aye on all.

  22                 COMMITTEE CLERK:     Diaz.

  23                 COUNCIL MEMBER DIAZ:      Aye on all.

  24                 COMMITTEE CLERK:     Dromm.

  25                 COUNCIL MEMBER DROMM:      Aye.
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   1   STATED MEETING                                        31

   2                 COMMITTEE CLERK:     Eugene.

   3                 COUNCIL MEMBER EUGENE:       Aye.

   4                 COMMITTEE CLERK:     Gibson.

   5                 COUNCIL MEMBER GIBSON:       I vote aye.

   6                 COMMITTEE CLERK:     Gjonaj.

   7                 COUNCIL MEMBER GJONAJ:       Aye on all.

   8                 COMMITTEE CLERK:     Grodenchik.

   9                 COUNCIL MEMBER GRODENCHIK:       Aye on all.

  10    I responded for the discussion list, so if I'm on it

  11    good, if I'm not please add me to it.        Thank you.

  12                 COMMITTEE CLERK:     Holden.

  13                 COUNCIL MEMBER HOLDEN:       Aye on all.

  14                 COMMITTEE CLERK:     Kallos.

  15                 COUNCIL MEMBER KALLOS:       Aye on all.

  16                 COMMITTEE CLERK:     King.

  17                 COUNCIL MEMBER KING:      Aye on all.

  18                 COMMITTEE CLERK:     Koo.

  19                 COUNCIL MEMBER KOO:     Aye on all.

  20                 COMMITTEE CLERK:     Koslowitz.

  21                 COUNCIL MEMBER KOSLOWITZ:       Aye on all.

  22                 COMMITTEE CLERK:     Lancman.

  23                 COUNCIL MEMBER LANCMAN:       Aye.

  24                 COMMITTEE CLERK:     Lander.

  25                 COUNCIL MEMBER LANDER:       Aye on all.
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   1   STATED MEETING                                       32

   2                 COMMITTEE CLERK:     Levin.

   3                 COUNCIL MEMBER LEVIN:      Aye on all.

   4                 COMMITTEE CLERK:     Levine.

   5                 COUNCIL MEMBER LEVINE:       I vote aye on

   6    all.

   7                 COMMITTEE CLERK:     Louis.

   8                 COUNCIL MEMBER LOUIS:      Aye on all.

   9                 COMMITTEE CLERK:     Maisel.

  10                 COUNCIL MEMBER MAISEL:       Yes.

  11                 COMMITTEE CLERK:     Menchaca.

  12                 COUNCIL MEMBER MENCHACA:       Aye on all.

  13                 COMMITTEE CLERK:     Miller.

  14                 COUNCIL MEMBER MILLER:       Aye.

  15                 COMMITTEE CLERK:     Moya.

  16                 COUNCIL MEMBER MOYA:      Aye.

  17                 LANCE POLIVY: Bill?

  18                 COUNCIL MEMBER PERKINS:       Yeah.

  19                 COMMITTEE CLERK:     Perkins.

  20                 COUNCIL MEMBER PERKINS:        Somebody call

  21    me?

  22                 SPEAKER JOHNSON:     Council Member Perkins,

  23    how do you vote?

  24                 COUNCIL MEMBER PERKINS:       I vote aye on

  25    all.
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   1   STATED MEETING                                        33

   2                 COMMITTEE CLERK:     Powers.

   3                 COUNCIL MEMBER POWERS:       Aye on all, and

   4    Steven Levin, your child is adorable.

   5                 COMMITTEE CLERK:     Reynoso.

   6                 COUNCIL MEMBER REYNOSO:       I vote aye on

   7    all.

   8                 COMMITTEE CLERK:     Richards. Council

   9    Member Richards.

  10                 COUNCIL MEMBER RICHARDS:       I vote aye.

  11                 COMMITTEE CLERK:     Thank you.     Rivera.

  12                 COUNCIL MEMBER RIVERA:       Aye.

  13                 COMMITTEE CLERK:     Rodriguez.

  14                 COUNCIL MEMBER RODRIGUEZ:       Aye.

  15                 COMMITTEE CLERK:     Rose.

  16                 COUNCIL MEMBER ROSE:      Aye on all.

  17                 COMMITTEE CLERK:     Rosenthal.

  18                 COUNCIL MEMBER ROSENTHAL:       Aye on all,

  19    and Council Member Levin, your child is wonderfully

  20    distracting.    Thank you.

  21                 COMMITTEE CLERK:     Salamanca.

  22                 COUNCIL MEMBER SALAMANCA:       Aye on all.

  23                 COMMITTEE CLERK:     Torres.

  24                 SPEAKER JOHNSON:     Call Council Member

  25    Torres again.
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   1   STATED MEETING                                       34

   2                 COUNCIL MEMBER TORRES:      I vote aye.

   3                 COMMITTEE CLERK:     Council Member Torres,

   4    thank you.

   5                 SPEAKER JOHNSON:     We got [inaudible].

   6                 COMMITTEE CLERK:     Treyger.

   7                 COUNCIL MEMBER TREYGER:       I vote aye, and

   8    please add me to general orders.

   9                 COMMITTEE CLERK:     Ulrich.

  10                 COUNCIL MEMBER ULRICH:      I vote aye, and I

  11    hope everybody stays safe and healthy.

  12                 SPEAKER JOHNSON:     Thanks, Eric.

  13                 COMMITTEE CLERK:     Vallone.

  14                 COUNCIL MEMBER VALLONE:       Aye on all.

  15                 COMMITTEE CLERK:     Van Bramer.

  16                 COUNCIL MEMBER VAN BRAMER:       Aye on all.

  17                 COMMITTEE CLERK:     Yeger.

  18                 COUNCIL MEMBER YEGER:      I vote aye on all,

  19    with the exception of Intro 1854 on which I abstain,

  20    and I vote no on land use items 618 through and

  21    inclusive of 622, consistent with my position that I

  22    stated before in the council that landmarkings

  23    without the owner's consent constitute an

  24    unconstitutional taking under the Fifth Amendment.

  25    Thank you.
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   1   STATED MEETING                                       35

   2                 COMMITTEE CLERK:     Matteo.

   3                 MINORITY LEADER MATTEO:       I vote aye.

   4                 COMMITTEE CLERK:     Cumbo.

   5                 MAJORITY LEADER CUMBO:      I vote aye.

   6                 COMMITTEE CLERK:     Speaker Johnson.

   7                 SPEAKER JOHNSON:     I vote aye on all.      And

   8    I ask the clerk to read the results on today's votes

   9    on the items on the general order calendar.

  10                 COMMITTEE CLERK:     The vote on all items

  11    for today's general order calendar is 15 in the

  12    affirmative, zero in the negative, and no

  13    abstentions, with the exception of Introduction 1854,

  14    with a vote of 49 in the affirmative, zero in the

  15    negative, one abstention, and land use items 618

  16    through 622 and their accompanying resolutions with a

  17    vote of 49 in the affirmative, one in the negative,

  18    and no abstentions.     Land use call-ups remain

  19    unchanged.

  20                 MAJORITY LEADER CUMBO:      Thank you.      The

  21    items on today's general orders calendar are adopted.

  22    Introduction and reading of bills.

  23                 SPEAKER JOHNSON:     All bills have been

  24    referred to committees as indicated on today's

  25    agenda.
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   1   STATED MEETING                                       36

   2                  MAJORITY LEADER CUMBO:     Thank you,

   3    Speaker Johnson.     There are no resolutions on today's

   4    calender.   So we will now move into general

   5    discussion.    As a reminder, please wait until the

   6    Sergeant at Arms begins the countdown clock before

   7    you begin your remarks.

   8                  LANCE POLIVY: Madam Majority Leader.

   9                  MAJORITY LEADER CUMBO:     Yes.

  10                  LANCE POLIVY: Council Members Miller,

  11    Adams, and Chin are the first to have signed up.

  12                  MAJORITY LEADER CUMBO:     OK, we will begin

  13    with Council Member Miller.

  14                  SERGEANT AT ARMS:    Council Member Miller,

  15    your time is starting now.

  16                  COUNCIL MEMBER MILLER:     Thank you,

  17    Majority Leader, and it is so great to see all my

  18    colleagues out here and, and out in the struggle

  19    continuing to work.     As we know, COVID-19 has taken

  20    an awful toll, an unmeasurable, ah, a toll on our

  21    city, state, and our country.       Yet despite this

  22    devastation and disarray that we have suffered the

  23    one constant throughout this ordeal has been how

  24    cities' work force, how municipal and essential

  25    workers have once again stepped up.        As I often say,
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   1   STATED MEETING                                       37

   2    ah, as the Chair of Civil Service and Labor, it is

   3    the men and women of our work force, city's work

   4    force, that give the city value.        It is the reason

   5    why 65 million tourists, Amazon, Google, and so many

   6    others want to come to New York City.        These brave,

   7    ah, public and, and private employers, employees,

   8    have braved this disease with remarkable courage to

   9    preserve our health, safety, and our way of life, and

  10    have done so with great prowess and costs, personal

  11    costs of their own.     Whether in times of prosperity

  12    or crisis the inherent value of these workers has

  13    always been defined, has always defined our city's

  14    greatness.    The majority of them are, ah, among the

  15    five million men and women of color who represent the

  16    council's, New York City's Committee on Civil Service

  17    and Labor and the committee, ah, the, the council's

  18    Black, Latino and Asian Caucus.       The sad commentary

  19    is that for all that they have given to our city that

  20    we have received far less in return.        And our, and

  21    continue to, they continue to bear the brunt of the

  22    COVID-19.

  23                 SERGEANT AT ARMS:     30 seconds.

  24                 COUNCIL MEMBER MILLER:      So once again we

  25    emerge from under the, once, once we emerge from this
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   1   STATED MEETING                                       38

   2    side of the pandemic we must commit to addressing and

   3    resolving these racial and social economic

   4    disparities in the health care, transportation,

   5    finance, and education infrastructures within the

   6    communities of color, which are not reflections of

   7    inner city poverty or generational and structural

   8    racism that persist and government neglect...

   9                  SERGEANT AT ARMS:    Time.

  10                  COUNCIL MEMBER MILLER:     And so I'd like

  11    to, everyone thank you and, ah, Ramadan Mubarak.

  12                  MAJORITY LEADER CUMBO:     Thank you,

  13    Council Member Miller.      Next speaker.

  14                  COUNCIL MEMBER ADAMS:     Thank you, Madam

  15    Majority Leader.

  16                  SERGEANT AT ARMS:    Council Member Adams,

  17    your time will start now.

  18                  COUNCIL MEMBER ADAMS:     Thank you so much.

  19    Thank you, Madam Majority Leader.        And hello to all

  20    of my colleagues.     I miss being in the same room with

  21    all of you.    I am so pleased to introduce today, ah,

  22    and be a part of the package that encompasses, ah,

  23    small business COVID-19 bill, which I encourage my

  24    colleagues to sign on to.      This bill would make

  25    threatening a commercial tenant based on their status
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   1   STATED MEETING                                       39

   2    as a COVID-19 impacted business or person a form of

   3    harassment, punishable by a civil penalty of $10,000

   4    to $50,000.    Unfortunately, thousands of businesses

   5    in our city are suffering as they have been forced to

   6    close due to COVID-19.      As availability of federal

   7    loans is limited, many businesses are unable to pay

   8    their rent and this leaves them vulnerable to

   9    harassment from landlords looking to find ways to

  10    collect or get the tenant to voluntarily abandon the

  11    property so they can find tenants willing and able to

  12    pay higher rents.     The threat of harassment will

  13    particularly impact the city's small, independently

  14    owned, and immigrant-owned businesses, many of which

  15    were operating on thin margins and struggling to pay

  16    rent even before this crisis.       Today also along with

  17    Council Member Cornegy we're introducing a deed fraud

  18    bill, which would require reporting on complaints

  19    received and investigations regarding reported

  20    document fraud.     Home ownership is a part of the

  21    American dream, but in times of financial uncertainty

  22    home owners can become targets for deed fraud.

  23    Unfortunately, state law prevents us from doing more

  24    rigorous checks before a deed is...

  25                  SERGEANT AT ARMS:    30 seconds.
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   1   STATED MEETING                                       40

   2                  COUNCIL MEMBER ADAMS: Until there is a

   3    shift of the state law the City Council must demand

   4    updates in accountability from the Office of the

   5    Sheriff, on the outcomes and strategies of their

   6    investigations.     I ask my colleagues to support both

   7    of these very important pieces of legislation.           Thank

   8    you so much, Madam Majority Leader.

   9                  MAJORITY LEADER CUMBO:     Thank you,

  10    Council Member Adams.      Next speaker.

  11                  SERGEANT AT ARMS: Council Member Chin,

  12    your time will start now.

  13                  COUNCIL MEMBER CHIN:     Thank you.    Ah,

  14    thank you, Majority Leader, and glad to see all my

  15    colleagues.    Um, I want to take this opportunity to

  16    thank you, Speaker, ah, to Jason, all the central

  17    staff, and all my colleague join, ah, for your

  18    support during this pandemic, and also to my team for

  19    all their hard work in serving our constituents.             And

  20    to all of the frontline workers, ah, the healthcare

  21    workers, the first responder, all the essential

  22    workers, delivery workers, grocery workers.         They're

  23    working so hard, um, to keep us healthy and strong.

  24    And that's why as City Council we have to do more to

  25    protect them, protect their family, and make sure
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   2    they come out of this crisis also healthier and

   3    stronger.   And finally I wanted to give a big thank

   4    you to all the service provider, all the volunteers

   5    and donors who have stepped up during this crisis to

   6    deliver food and supplies, um, to our healthcare

   7    workers, to our seniors, and to our families in need.

   8    And I pray that all of us will come out of this

   9    pandemic more united and stronger together.         Thank

  10    you.

  11                 MAJORITY LEADER CUMBO:      Thank you,

  12    Council Member.     The next three speakers will be.

  13                 LANCE POLIVY: The next three speakers are

  14    Council Members Gibson, Vallone, followed by Louis.

  15                 SERGEANT AT ARMS:     Council Member Gibson,

  16    your time is starting now.

  17                 COUNCIL MEMBER GIBSON:      Thank you so

  18    much, and good afternoon to all of my colleagues.

  19    Thank you, Speaker, thank you, Majority Leader, and

  20    every one of you.     Um, I join with all of you and

  21    first and foremost expressing our thoughts and

  22    prayers and condolences to everyone across our city

  23    who has lost a loved one, a relative, a family

  24    member, a neighbor, to this COVID-19 pandemic.           Those

  25    that remain in the hospital that are struggling to
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   1   STATED MEETING                                       42

   2    survive we pray for healing.       Um, I am reminded that

   3    this, too, shall pass and we are New Yorkers, we're

   4    tough, we're resilient, and I know we will get

   5    through this.    We will survive.     We will thrive, and

   6    we will be stronger than ever.       It has been

   7    overwhelming, emotionally draining for all of us as

   8    we continue to do this work.       We take care of our

   9    families, our children.      We serve our districts.

  10    There's so much going on.      There's a lot of

  11    information that's being shared for coordination of

  12    services.   But I join with all of you in saluting

  13    every first responder, essential worker, frontline

  14    worker, all of our public servants, men and women,

  15    that go to work every day to serve the public and

  16    risk their lives to protect us and save New Yorkers.

  17    I'm reminded that many of our public servants are

  18    hardworking men and women of color, predominantly

  19    women in women of color and we salute you every day

  20    for everything you're doing.       The cafeteria workers

  21    in our schools, the crossing guards, small

  22    businesses, grocery workers, everyone, we thank you.

  23    I think as we move forward and we learn about some of

  24    the deficiencies and gaps in services...

  25                 SERGEANT AT ARMS:     30 seconds.
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   2                  COUNCIL MEMBER GIBSON:     And challenges

   3    that we face I am reminded that a borough like mine

   4    of the Bronx has had a higher rate of hospitalization

   5    and deaths because of underlying health disparities,

   6    so I look forward to working with all of you, my

   7    colleagues, as we not only address a COVID post world

   8    but also some of the challenges we faced prior to

   9    COVID.   Again, my prayers to everyone.        I thank you,

  10    colleagues, for introducing a comprehensive package

  11    today and I look forward to our continued work.          God

  12    bless us all.

  13                  SERGEANT AT ARMS:    Time.

  14                  COUNCIL MEMBER GIBSON:     Thank you, Madam

  15    Majority Leader.

  16                  MAJORITY LEADER CUMBO:     Thank you,

  17    Council Member Gibson.      We will now move to Council

  18    Member Vallone.

  19                  SERGEANT AT ARMS:    Council Member

  20    Vallone, your time is starting now.

  21                  COUNCIL MEMBER VALLONE:      First off I want

  22    to thank our speaker, Corey Johnson, and his staff

  23    for really putting this unprecedented hearing

  24    together and giving us a chance to see our fellow

  25    colleagues.     Thank you, Corey, for all of that and
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   2    being our rock for all of us, to myself and the

   3    fellow council members who have been struck with this

   4    unbelievable disease.      Ah, the rest of you have

   5    really given us the, the prayers and the health and

   6    the love that we needed for our families to get

   7    through this very scary times, and it really

   8    humanized what every person had to do during this

   9    crisis from the moment you decided you needed to get

  10    help, where to get help, and the realization of how

  11    dependent we were and are on our first-line workers,

  12    our responders, our healthcare workers, our delivery

  13    workers.   My life is completely dependent on everyone

  14    who has helped us.     So I wanted to say thank you from

  15    my family and for everyone who has really just from

  16    dropping things to the door, to send us messages.

  17    Um, my heart is to everyone who is suffering and has

  18    lost someone.    Um, today there is so much, ah, that

  19    we need to thank and I just wanted to congratulate

  20    our fellow members for all the pieces of legislation

  21    [inaudible] today and those who signed on to our

  22    resolution calling on the federal government to not

  23    continue to forget our co-ops and condos.         It's

  24    really our last passage of affordable housing and

  25    it's not in any of the relief packings or the PPP
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   1   STATED MEETING                                       45

   2    loans or the CARE Act.      So we're asking, um, fellow

   3    council members to join in on it.        Almost half of you

   4    are now.

   5                 SERGEANT AT ARMS:     30 seconds.

   6                 COUNCIL MEMBER VALLONE:       [inaudible]

   7    financing will include co-ops and condos.         That's the

   8    reso that's on today.      And my only caveat for the day

   9    would be that we tread lightly when we're talking

  10    about so many miles of our streets.        Um, yes,

  11    Manhattan is different than the rest of the boroughs

  12    and we need to have some space.       But what we do we do

  13    temporarily and that we look to full hearings to talk

  14    about impacts from everyone if we were to do anything

  15    beyond, ah, temporary emergency acts, because we are

  16    dependent on those very streets, all of us, not just

  17    certain routes.

  18                 SERGEANT AT ARMS:     Time.

  19                 COUNCIL MEMBER VALLONE:       Thank you, God

  20    bless everyone.

  21                 MAJORITY LEADER CUMBO:      Thank you so

  22    much, and so glad to see you in good health.

  23                 COUNCIL MEMBER VALLONE:       Thank you.

  24                 MAJORITY LEADER CUMBO:      Council Member

  25    Louis.
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   2                 SERGEANT AT ARMS:     Council Member Louis,

   3    your time will start now.

   4                 COUNCIL MEMBER LOUIS:      Good afternoon,

   5    everyone.   I'm very, very grateful to see everyone,

   6    um, and to see everyone well, happy, and healthy.

   7    Ah, I want to thank all of our first responders and

   8    everyone that's just been doing a great work on the

   9    grounds, um, in all of our districts and all of our

  10    communities.    I want to thank you, Speaker Corey

  11    Johnson, for your leadership, and I want to thank the

  12    legislative division for helping me push these two

  13    pieces of legislation forward.       Um, in the interest

  14    of time I'll be really quick.       Um, today I'll be

  15    introducing two pieces, ah, Intro 1929, which would

  16    create a public alert system to be used in missing

  17    persons cases, where the person is believed to be in

  18    imminent danger, and Intro 1928, which would require

  19    the NYPD to compile, send, and post a yearly missing

  20    persons report disaggregated by race, age, gender,

  21    police precinct, person, ah, sorry, percent of cases

  22    solved and proportion of which cases involved of

  23    human trafficking.     Um, I urge my colleagues to sign

  24    onto 1928 and 1929.     These two public safety bills

  25    can help increase awareness and save more lives.             And
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   2    I also want to thank Council Member Gjonaj for

   3    allowing me to co-prime on 1921.        I don't know if he

   4    is speaking about it today, but it is a very good

   5    bill and I want to encourage everyone to sign on.

   6    And thank you so much, Majority Leader.

   7                 LANCE POLIVY: Madam Majority Leader, the

   8    next three members who have signed up are Grodenchik,

   9    Rivera, and Powers.

  10                 SERGEANT AT ARMS:     Council Member

  11    Grodenchik, your time will start now.

  12                 COUNCIL MEMBER GRODENCHIK:       Thank you

  13    very much.    Um, I want to thank everybody for, ah,

  14    their personal concern for myself and my family.             Um,

  15    this disease is nothing to be trifled with as many of

  16    us have found out.     So thank you.     I want to thank

  17    the Speaker and the entire council time for putting

  18    this together today.     Um, it's critical that

  19    government function in New York City and we have

  20    shown that that is possible, ah, despite what we're

  21    going through.    I want to thank my own team, led by

  22    my chief of staff, Ari Gershman, ah, for keeping up

  23    and, ah, helping out, ah, many, many people in my

  24    district and elsewhere, um, when I was flat on my

  25    back.   Um, I want to thank our first responders and
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   1   STATED MEETING                                       48

   2    everybody, ah, who is fighting this terrible

   3    disaster.   I know that we have lost over 10,000 New

   4    Yorkers, many of them city workers who have given

   5    their lives in performance of their duty, and our

   6    thoughts and our prayers are with them and their

   7    families at this time.      I want to echo the concerns

   8    of my colleague and my dear friend, Paul Vallone, and

   9    we must remember that New York City spreads out over

  10    300 square miles.     Ah, traveling in my district is

  11    very difficult by mass transit, even more so these

  12    days.   Ah, I delivered food today on behalf of Common

  13    Point in eastern Queens.      None of the people that I

  14    delivered today would be able to get around without a

  15    car.    Some of them lived almost a mile from the

  16    nearest grocery store.      So, ah, it's a very large

  17    city, ah...

  18                  SERGEANT AT ARMS:    30 seconds.

  19                  COUNCIL MEMBER GRODENCHIK:      Thank you.

  20    In sum, ah, growing up when I was a little boy we

  21    used to drive along the Cross Bronx Expressway

  22    visiting family and vast stretches of our city were

  23    burned out in the early '70s.       New York City came

  24    back because we worked hard and we were smart, and we

  25    will get over this, I assure you.        Ah, New York City
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   2    is always going to be a place where people are going

   3    to want to come to live, to work, to raise their

   4    families, and to retire as well.        So let's stay...

   5                 SERGEANT AT ARMS:     Time.

   6                 COUNCIL MEMBER GRODENCHIK:       Keep your

   7    foot on the accelerator.      Thank you very much.

   8                 LANCE POLIVY: Madam Majority Leader,

   9    Council Members Rivera, Powers, and Levine.

  10                 MAJORITY LEADER CUMBO:      Council Member

  11    Rivera.

  12                 SERGEANT AT ARMS:     Council Member Rivera,

  13    your time will start now.

  14                 COUNCIL MEMBER RIVERA:      Thank you so

  15    much.    Thank you, Mr. Speaker.     Thank you to everyone

  16    out there who made this happen, especially the staff

  17    and to all the first responders and, and workers who

  18    are keeping us safe, healthy, and comfortable.           I

  19    want to just highlight two bills I'm introducing

  20    today.    First, legislation that would temporarily

  21    require the city to open approximately 75 miles of

  22    city streets to pedestrians and cyclists during the

  23    COVID-19 pandemic in order to provide New Yorkers

  24    with more room for social distancing.        Cities across

  25    the country from Boston to Oakland have taken similar
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   1   STATED MEETING                                       50

   2    measures, but if passed we would be the first

   3    legislative body to pursue an innovative program such

   4    as this.    We have seen just this week in reports from

   5    urban planners that almost all of our city sidewalks

   6    are not safe for social distancing.        Our Open Streets

   7    bill will increase space for essential workers to

   8    commute safely.     It will supplement our already

   9    crowded parks, which will only become more cramped

  10    this summer, and it will bring equity to communities

  11    of color that for decades have lacked the open spaces

  12    that we are fortunate to have in other neighborhoods.

  13    As the chair of the Committee on Hospitals I

  14    encourage all of you, my colleagues in the council,

  15    to support the passage of this bill as quickly as

  16    possible in order to prevent further infections and

  17    further strain on our heroic hospitals and their

  18    staff.    An open streets program just like washing

  19    hands and face coverings will save lives, plain and

  20    simple.    The Speaker and I are also introducing

  21    legislation as part of the council's coronavirus

  22    relief package, which will temporarily suspend

  23    personal liability [inaudible] ...

  24                 SERGEANT AT ARMS:     30 seconds.

  25
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   2                 COUNCIL MEMBER RIVERA: ...and related

   3    rental agreements of businesses impacted by COVID-19.

   4    This will ensure city business owners don't face the

   5    loss of their businesses and personal financial ruin

   6    or bankruptcy as a result of this state of emergency.

   7    These businesses are closing and losing weeks of

   8    income through no fault of their own and allowing

   9    small business owners to keep their spaces will be

  10    integral to the city's ability to recovery after the

  11    virus.   I hope you will join us in cosponsoring the

  12    bills and its coronavirus relief package before us

  13    today.

  14                 SERGEANT AT ARMS:     Time.

  15                 COUNCIL MEMBER RIVERA:      Thank you so

  16    much.

  17                 MAJORITY LEADER CUMBO:      Thank you so

  18    much, Council Member Rivera.       Now we'll hear from

  19    Council Member Powers.

  20                 COUNCIL MEMBER POWERS:        Thank you, thank

  21    you.

  22                 SERGEANT AT ARMS:     Council Member Powers,

  23    your time will start now.

  24                 COUNCIL MEMBER POWERS:      OK, thank you for

  25    the opportunity, and it's good to see everybody
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   2    again, even in a virtual setting.        I have missed

   3    everybody here and thank you for all the good work

   4    you're all doing.     And I wanted to offer some

   5    condolences and some prayers today for those who

   6    unfortunately we have lost along the way in this

   7    difficult moment, and I wanted to offer my deepest

   8    condolences to our colleague, Rafael Salamanca, for

   9    the passing of his father, ah, as well to Comptroller

  10    Scott Stringer for the passing of his mother, and

  11    also remember the lives of many who couldn't be here,

  12    including Council Member Noach Dear who I know passed

  13    last week.    Many members of the NYPD, many members of

  14    the Corrections Department, ah, and two folks in city

  15    custody who passed away, and countless many more.

  16    Um, they've been devastating to our city and, of

  17    course, to their families as well.        And I also wanted

  18    to send my thoughts and prayers to the family of NYPD

  19    Transportation Chair, Transportation Chief, rather,

  20    William Morris, who I know his family is struggling

  21    and he is struggling as well today.        We have so much

  22    work to do ahead of us to honor the lives of those

  23    who have been lost, but also to save lives and to

  24    protect New Yorkers' health and prosperity going

  25    forward, and health is our top priority, we all must,
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   1   STATED MEETING                                       53

   2    ah, follow official guidance.       But as we think past

   3    the stages, ah, past this stage of the COVID crisis

   4    that means making tough decisions in our city budget.

   5    It means making tough decisions about what our

   6    priorities will be and, but it means being proactive

   7    in helping those.     Um, for me that's meant helping...

   8                 SERGEANT AT ARMS:     30 seconds.

   9                 COUNCIL MEMBER POWERS:      Yep.   Helping

  10    renters immediately, providing rental assistance,

  11    finding creative ways to help people be able to pay

  12    the next month's rent.      It means that we have to have

  13    a [inaudible] for our small businesses who really

  14    need our help, particularly those in the hospitality

  15    industry right now, who are being hit the hardest,

  16    and it means we need [inaudible] in our city jails

  17    where there have been the highest rate of infections.

  18    We've lost officers and, ah, people that are

  19    incarcerated.     So I know we have a lot of work to do.

  20    I'll stop, I see my time is up, and I want to thank

  21    everybody for their continued leadership here and I

  22    know that we'll be working together in the weeks

  23    ahead to make sure New York [inaudible] very

  24    difficult time.     Thank you.

  25
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   1   STATED MEETING                                       54

   2                  MAJORITY LEADER CUMBO:     Thank you so

   3    much.   We'll hear now from Council Member Levine.

   4                  COUNCIL MEMBER LEVINE:     Thank you, Madam

   5    Majority Leader.

   6                  SERGEANT AT ARMS:    Council Member Levine,

   7    your time is starting now.

   8                  COUNCIL MEMBER LEVINE:     Thank you, Madam

   9    Majority Leader.     Ah, thank you, Mr. Speaker, for

  10    your leadership, which has been outstanding

  11    throughout this crisis.      Thanks to all, my

  12    colleagues, for what you're doing in your district

  13    and all around the, all around the city.         It's really

  14    quite inspiring.     As all of you know, we are about to

  15    build an entirely new public health system to prepare

  16    us for the next phase of this virus and our fight

  17    against it.    We are gonna have to build a system of

  18    mass testing and contact tracing, quarantining,

  19    hoteling, isolating, transporting patients,

  20    telemedicine, IT, it's almost the equivalent of

  21    starting an entirely new city agency, um, as big as

  22    ACS, maybe FDNY.     We've never done anything like this

  23    in city history.     Thousands of employees.      Um, it's

  24    going to be an extraordinarily challenging

  25    undertaking, but it's what we need to do to restart
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   1   STATED MEETING                                       55

   2    our economy and to get back to something remotely

   3    like normal.    This is gonna touch every one of our

   4    districts, especially communities of color, which

   5    have been disproportionately hard hit in this crisis,

   6    and every one of us needs to have a role in shaping

   7    this and delivering it.      Our communities need to be

   8    engaged in, engaged in designing this, this new

   9    public health system.      Ah, CBOs need to be engaged in

  10    delivering these services.      Ah, so my call to all of

  11    you is let's work together on this to make sure that

  12    the failures of the early stage in this crisis

  13    nationally are not repeated here in New York City

  14    when we have one more...

  15                 SERGEANT AT ARMS:     30 seconds.

  16                 COUNCIL MEMBER LEVINE: ...shot at

  17    containing this horrible virus.       Thank you very much.

  18                 MAJORITY LEADER CUMBO:      Thank you so

  19    much, Council Member Levine.       I'm so glad to see you

  20    as well as your family doing better.        Next three

  21    speakers.

  22                 LANCE POLIVY: Madam Majority Leader, the

  23    next three speakers are Council Members Menchaca,

  24    King, and Eugene.

  25
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   1   STATED MEETING                                       56

   2                  MAJORITY LEADER CUMBO:     Council Member

   3    Menchaca.

   4                  SERGEANT AT ARMS:    Council Member

   5    Menchaca, your time will start now.

   6                  COUNCIL MEMBER MENCHACA:     Hi colleagues,

   7    and hi again.    Um, the coronavirus continues to be,

   8    ah, incredibly impactful, widespread across the

   9    economic.   We just heard about the health stuff, um,

  10    from, ah, Council Member Levine, and immigrant New

  11    Yorkers, particularly those who are undocumented,

  12    they have incredible vulnerability in this

  13    conversation, and yet these undocumented workers and

  14    immigrant families are largely excluded from state

  15    programs like unemployment insurance and the federal

  16    relief cash payments that are and were supposed to

  17    help workers who lost their jobs or got their hours

  18    cut.   And so my question to us here and to everyone

  19    at home, what will the state and the city do to help

  20    our immigrant friends and families and neighbors and

  21    colleagues?     And so the governor and the mayor have

  22    already said that they're not interested in using

  23    government funding for this.       Um, but I'm sure that

  24    they know that the undocumented immigrant communities

  25    contribute 40 billion dollars a year to New York
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   1   STATED MEETING                                       57

   2    State's gross domestic product.       That's according to

   3    the Fiscal Policy Institute report.        And, further,

   4    they pay more than a billion dollars a year in state

   5    and local taxes.     So, again, I gotta ask, what are we

   6    gonna do?    And where are we, what are we gonna do as

   7    a council?    Meanwhile, the ICE is, ICE is still, ah,

   8    terrorizing our communities.       They're holding people,

   9    including pregnant women, in detention facilities, as

  10    we, um, ah, told to stay at home...

  11                 SERGEANT AT ARMS:     30 seconds.

  12                 COUNCIL MEMBER MENCHACA:      And, and

  13    practice social distancing.       So with all this I just

  14    want to keep asking ourselves what are we gonna do,

  15    um, and let us not, um, forget that democracy, ah,

  16    cannot assume democracy, even in this time, and that,

  17    that democracy is about participation and I'm hoping

  18    that everyone stays engaged, re-engages, whether

  19    you're a community board member, a student, an

  20    immigrant, a day laborer, no matter what language you

  21    speak or sexual indication or gender expression,

  22    whatever, we need your help...

  23                 SERGEANT AT ARMS:     Time's up.

  24                 COUNCIL MEMBER MENCHACA: ...to maintain

  25    this, the democracy.     Thank you again.
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   1   STATED MEETING                                       58

   2                 MAJORITY LEADER CUMBO:      Thank you so

   3    much, Council Member Menchaca.       Now we will hear from

   4    Council Member King.

   5                 COUNCIL MEMBER KING:      Thank you, Majority

   6    Leader.

   7                 SERGEANT AT ARMS:     Council Member King,

   8    your time is starting now.

   9                 COUNCIL MEMBER KING:      Thank you, Majority

  10    Leader and Speaker.     Thank you for leading today's

  11    conversation and your leadership through all this

  12    craziness that we're trying to manage.         I just want

  13    to offer prayers to all the families who are

  14    suffering from this pandemic.       More importantly, to

  15    all of my colleagues, all of us here, who are dealing

  16    with this in our neighborhoods and in our hearts and

  17    in our households and outside of our households, and

  18    praying for strength and, and health for everyone.

  19    Um, I just want to add my voice to Peter Vallone, I

  20    mean Paul Vallone.     I want to thank you for allowing

  21    me to, ah, be a co-prime with you and with the

  22    resolution making sure that our condos and our co-ops

  23    are not forgotten in this, all these fiscal

  24    stimuluses that are coming down and making sure that

  25    we take care of those residents.        Co-op City, which
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   1   STATED MEETING                                       59

   2    is the largest [inaudible] in this country, they're

   3    suffering right now.     So even as we're talking about

   4    a COVID package that will make sure essential workers

   5    get raises, they're gonna have challenges meeting

   6    those financial burdens.      So I want us to continue to

   7    have these conversations and make sure that we can

   8    protect everybody, small businesses, big businesses,

   9    housing, and so forth.      But I also want to lend my

  10    voice.   Debbie Rosen, our Council Member [inaudible]

  11    well the challenge of making sure that summer youth

  12    this summer have something to do.        Um, we know that

  13    the Speaker, as you mentioned, the conversation has

  14    been about ending it.      I'm asking us maybe we can

  15    call on the federal government to do a summer youth

  16    stimulus package and making sure children are funded

  17    and they're doing something during summer, whether

  18    it's a school project or something to keep them

  19    engaged because of the fiscal responsibilities they

  20    have to their own.     I'm asking if we can look at

  21    something like that and continue that conversation

  22    with our youth.     And finally I want to talk about

  23    small businesses.     Not only just small businesses,

  24    but...

  25                 SERGEANT AT ARMS:     30 seconds.
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   1   STATED MEETING                                       60

   2                 COUNCIL MEMBER KING:      But our black and

   3    brown small businesses for some reason sometimes get

   4    left out of the pot, pot when it comes to giving that

   5    funding to our neighborhood, whether it's capacity or

   6    figuring out the rules, how to be streamlined that

   7    this, this big [inaudible] come down, hits our

   8    neighborhoods and hits them, hits them in real time.

   9    So with that [inaudible] I want to wish everyone a

  10    happy Ramadan.    Council Member [inaudible] happy

  11    birthday.   And blessings and peace to everybody.

  12    Thank you again for your leadership.        God bless us

  13    all.

  14                 MAJORITY LEADER CUMBO:      Thank you so

  15    much, Council Member King.      Followed by Council

  16    Member Eugene.

  17                 COUNCIL MEMBER EUGENE:      Thank you very

  18    much, Madam Majority Leader.

  19                 SERGEANT AT ARMS:     Council Member Eugene,

  20    your time will start now.

  21                 COUNCIL MEMBER EUGENE:      Thank you, ah,

  22    Madam Majority Leader.      Ah, we all know that we are

  23    facing as a community, as a society, we are facing

  24    the ongoing tragedy, the COVID-19 pandemic that has

  25    claimed the life of so many people, it has caused so
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   2    many pain and suffering in our society.         And also

   3    that has shut down our economy, our school, our

   4    churches, and, you know, that have affected us in so

   5    many part of our life.      But we can see that part of

   6    the devastation is because we were not ready for this

   7    type of viruses, these type of crisis, even after

   8    such virus epidemic in 2002, and MERS in 2012.           We

   9    were still not ready.      And we put so much stress and

  10    challenges on our medical staff, doctors and nurses,

  11    and what happened?     The people who have been

  12    suffering from critical disease before they couldn't

  13    even receive the critical care that they need.

  14    That's the reason why I have introduced two pieces of

  15    resolution, two pieces of legislation, resolution 637

  16    and 638, asking that the city and [inaudible]

  17    government create [inaudible] medical centers and

  18    hospital to [inaudible] crisis...

  19                 SERGEANT AT ARMS:     30 seconds.

  20                 COUNCIL MEMBER EUGENE: ...[inaudible]

  21    infectious disease impediment, impediment, and to

  22    create also a permanent commission to study the

  23    effect of the previous crisis, health crisis, on the

  24    society in order for us to be prepared.         And this

  25    commission will be staffed by medical staff, elected
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   1   STATED MEETING                                       62

   2    official, and expert in medicine and virology to do

   3    research on the impact of the previous medical

   4    training.

   5                 SERGEANT AT ARMS:     Time's up.

   6                 COUNCIL MEMBER EUGENE:      And [inaudible]

   7    people who are infected by a virus like COVID-19, so

   8    pathogenic, we are going to expose the medical staff,

   9    doctors, nurses, in the previous [inaudible].

  10                 MAJORITY LEADER CUMBO:      [inaudible]

  11                 COUNCIL MEMBER EUGENE:      I'm asking all my

  12    colleagues to support this, ah, ah, two legislation.

  13    Thank you.

  14                 MAJORITY LEADER CUMBO:      Thank you, and

  15    thank you for your important work.        I'd like to have

  16    the next three speakers.

  17                 LANCE POLIVY: Madam Majority Leader, with

  18    your permission I'll read the full list.         There have

  19    been a number of council members who have been

  20    raising their hand.

  21                 MAJORITY LEADER CUMBO:      OK.

  22                 LANCE POLIVY: And this way they'll know

  23    that they have been recognized.       The remaining list

  24    is Council Members Rodriguez, Kallos, Barron,

  25    Borelli, Constantinides, Treyger, Lander, Reynoso,
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   1   STATED MEETING                                       63

   2    Van Bramer, Yeger, Levin, and Cabrera.         The next

   3    three up are Rodriguez, Kallos, and Barron.

   4                 MAJORITY LEADER CUMBO:      Thank you.

   5    Council Member Rodriguez.

   6                 SERGEANT AT ARMS:     Council Member

   7    Rodriguez, your time will start now.

   8                 COUNCIL MEMBER RODRIGUEZ:      Thank you.

   9    Eh, I think that most of you guys know, you know what

  10    I gonna say.    But for all New Yorkers it's sad to be

  11    in 2020, you know, showing the face of the City of

  12    New York that we have reclaiming that we had the best

  13    [inaudible] system in the whole nation, and yes when

  14    we see the [inaudible] where people have access to

  15    the base health services, at those [inaudible] of the

  16    wealthy New Yorkers, where you look at the numbers

  17    and the faces of people dying, you know, that

  18    [inaudible] is the same system [inaudible] poverty

  19    that we have in the poorest area.        You can call it in

  20    any elected official [inaudible].        But I can tell you

  21    like Congressman Sarano district and Sarano is like

  22    the first one poorest in the nation, Congressman

  23    [inaudible] district is the eleven one poorest in the

  24    nation, and you look at the faces of the Latinos and

  25    the black and the Asian and yes coronavirus doesn't
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   1   STATED MEETING                                       64

   2    discriminate, anyone can get it, and we feel, you

   3    know, we really have our prayer for anyone, the 8.6

   4    million New Yorkers.     But they're faces of the

   5    poorest one and the question is what can we do.           We

   6    have failed.    The city has failed.      We have been the

   7    city of the poor...

   8                  SERGEANT AT ARMS:    30 seconds.

   9                  COUNCIL MEMBER RODRIGUEZ:     ...and the

  10    rich.    And until we address that situation we will be

  11    in the same place 10, 20 year from now.         [speaking in

  12    Spanish] and I call on progressive New Yorkers stand

  13    up.     We need to do better.    We can do better.       We can

  14    save life.     And lastly I would like to show all our

  15    support to the responders who they are putting their

  16    life to save other people life.

  17                  SERGEANT AT ARMS:    Time's up.

  18                  LANCE POLIVY: And Majority Leader,

  19    Council Members Kallos, Barron, and Borelli.

  20                  COUNCIL MEMBER KALLOS:     I'm waiting for

  21    the Sergeant at Arms.

  22                  SERGEANT AT ARMS:    You have to be

  23    recognized by the Majority Leader.

  24                  SPEAKER JOHNSON:    Council Member Kallos,

  25    you're recognized to begin.
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   1   STATED MEETING                                       65

   2                 SERGEANT AT ARMS:     Time will start now.

   3                 COUNCIL MEMBER KALLOS:      I'm proud of the

   4    work that the council continues to do as the

   5    legislative body in responding to the COVID-19

   6    pandemic.   Today I'm introducing two bills, one to

   7    help essential workers now and one looking ahead in

   8    hopes of bringing systemic change, improving access

   9    to underrepresented communities to our city's best

  10    schools and you may hear my daughter in the

  11    background, as all of us adjust to the new normal.

  12    My first introduction, 1923, that I authored with

  13    Speaker Corey Johnson and Council Member Lander to

  14    provide [inaudible] protections to all essential

  15    workers, from those in healthcare to those in our

  16    grocery markets or making deliveries, as we continue

  17    to thank and praise all these workers, including

  18    cheering them nightly.      Many have faced retaliation

  19    for speaking out against unsafe conditions and

  20    demanding protective equipment to keep them safe in

  21    order to better keep us safe.       Under this

  22    legislation, essential workers would be protected

  23    from retaliation or termination without just cause.

  24    Second introduction, 1924, that I authored with

  25    Public Advocate Williams and Council Members Brannan
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   1   STATED MEETING                                       66

   2    and Cornegy, aims to increase access to specialized

   3    high schools in our city where black and Latino

   4    students have lost seats over the last two decades.

   5    The legislation would finally seat every student with

   6    a specialized high school, ah, admissions testing,

   7    [inaudible] SAT unless they opted out.          Universal

   8    test preparation would also be available.         The

   9    Education Equity Campaign provided a free seven-week

  10    course to nearly 200 students of color.         The results

  11    have proved this intervention, combined with seating

  12    every student, would improve access.        If you're

  13    watching online...

  14                 SERGEANT AT ARMS:      30 seconds.

  15                 COUNCIL MEMBER KALLOS:      And you need help

  16    during this pandemic please reach out and we will be

  17    there for you to help.      I want to thank the council

  18    staff for working even harder from home, my staff,

  19    Jeff Baker, Risau Chowdry, Malcolm Buterhorn, and

  20    countless others.     Thank you.

  21                 SPEAKER JOHNSON:      Thank you.    I believe

  22    we lost the Majority Leader.       Lance, who's next?

  23                 LANCE POLIVY: Council Members Barron,

  24    Borelli, and Constantinides.

  25                 SPEAKER JOHNSON:      Council Member Barron.
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   1   STATED MEETING                                       67

   2                 SERGEANT AT ARMS:     Council Member Barron,

   3    your time will start now.

   4                 COUNCIL MEMBER BARRON:      Thank you.      It's

   5    good to see all of my colleagues.        You're looking

   6    well.    Glad to see you.    I want to thank the Speaker

   7    and all of those who worked to make this a reality.

   8    This is my first big Zoom conference and I'm so glad

   9    that we're doing something that's so significant.            I

  10    also want to add my prayers and condolences to all

  11    who have been impacted by this, whether you were

  12    diagnosed with it or you had someone else was

  13    diagnosed.    As you may know, Charles and I did have

  14    it.   We have recovered, although we have not been in

  15    the house in about 45 days.       We're still staying in.

  16    And we want to thank all of who have been supportive

  17    of is.    Um, I also want to mention Minister Abdul

  18    Hafice Mohammed who passed and Father Lawrence Lupus

  19    who passed also.     Ah, this COVID is colorblind, yes.

  20    But the systems that operate in this city and this

  21    nation are not colorblind.      And the inherent racial

  22    inequities that are manifested in our health

  23    disparities, in our underfunding through the

  24    educational system, through the low family wealth

  25    that exists through the businesses that are so
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   1   STATED MEETING                                       68

   2    greatly impact, and through the digital divide that

   3    we see are a result of the systemic historic racism

   4    on which this country has been founded.         And we hear

   5    people talking about that and we want to make sure

   6    that when we come through this we don't have a worse

   7    situation in the aftermath, such as what we saw in

   8    Katrina.

   9                 SERGEANT AT ARMS:     30 seconds.

  10                 COUNCIL MEMBER BARRON:      So I encourage

  11    everyone to be able to be mindful of making sure that

  12    we come out at the other end we're at a more

  13    equitable place, and I want to encourage you to

  14    support the Higher Education Committee as we appeal

  15    for CUNY to freeze tuition and to maintain the ASAP

  16    program, which is nationally recognized, and to

  17    implement the food program which the speaker had so

  18    graciously started, and to continue...

  19                 SERGEANT AT ARMS:     Time's up.

  20                 COUNCIL MEMBER BARRON: ...the Link

  21    program 'cause are children are going to be

  22    devastated when they come back to school in

  23    September.    Thank you.

  24                 SPEAKER JOHNSON:     Thank you, Inez.       I'm

  25    glad you and Charles are better.
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   2                 COUNCIL MEMBER BARRON:      Yes, we're

   3    better, thank you.

   4                 MAJORITY LEADER CUMBO:      Thank you.

   5                 SPEAKER JOHNSON:     Council Member Borelli.

   6    Oh, sorry, the Majority Leader is back.

   7                 MAJORITY LEADER CUMBO:      Thank you.

   8    Council Member Borelli.

   9                 SERGEANT AT ARMS:     Council Member

  10    Borelli, your time will start now.

  11                 COUNCIL MEMBER BORELLI:      Thank you.     I

  12    think there was a misunderstanding.        I didn't put

  13    myself in to speak.     But while I have the conch I

  14    just want to say, ah, that I hope the council

  15    continues to take a very direct and deliberate action

  16    in supporting line of duty death benefits for all

  17    essential workers, um, whom we had asked to go to

  18    work during this crisis.      The MTA took a very

  19    positive step in being the first sort of organization

  20    to guarantee these for their members.        Ah, but there

  21    are a lot of, um, you know, correction employees,

  22    teachers, nurses, ah, ah, and all sorts of people.

  23    EMTs, there were two more EMTs that died in the last

  24    24 hours.   So please let's take some definitive steps

  25    towards easing the mental burden, ah, that, that
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   1   STATED MEETING                                       70

   2    potentially leaving one's family destitute must be,

   3    ah, on the shoulders of some of our essential

   4    workers.   Thank you.

   5                 SPEAKER JOHNSON:     I agree, Joe.     Thank

   6    you.

   7                 MAJORITY LEADER CUMBO:      Thank you.

   8    Council Member Costa Constantinides.

   9                 SERGEANT AT ARMS:     Council Member

  10    Constantinides, your time starts now.

  11                 COUNCIL MEMBER CONSTANTINIDES:       First I

  12    want to thank all of my colleagues for all the good

  13    wishes, my family and, ah, to really thank all of the

  14    frontline workers, essential workers, healthcare

  15    workers.   They have been doing an amazing job under

  16    unbelievable circumstances every single day.          Ah, you

  17    know, this is Earth Day today, as the Speaker talked

  18    about, and, you know, last year we passed some very

  19    big legislation.     And it wasn't about the goals.          It

  20    was about what those goals mean.        We're seeing the

  21    impacts of environmental racism and pollution in our

  22    environmental justice communities every single day,

  23    exasperated.    The asthma rates are the breeding

  24    ground for COVID and we're losing lives in those

  25    communities.    We need to act more boldly.       We need to
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   1   STATED MEETING                                       71

   2    continue to move our agenda forward.        We need to move

   3    our city forward in a way that protects our

   4    environmental justice communities in the long haul

   5    because it is literally life and death.         Those

   6    communities are the ones that are the most impacted.

   7    They are the ones that have been bearing the brunt of

   8    COVID and we must continue to do more.         So I, I agree

   9    with the Speaker as he talked about in his opening

  10    about needing to double down on our efforts around

  11    environmental justice, around environmental work, and

  12    ensuring the health...

  13                 SERGEANT AT ARMS:     30 seconds.

  14                 COUNCIL MEMBER CONSTANTINIDES: ...of New

  15    Yorkers in the long term.      And lastly I'm glad to

  16    work with Council Member Rodriguez in introducing the

  17    resolution in support of Senator Gennaro's bill to

  18    cancel rent in this critical time.        We need to make

  19    sure that with all of this that's going on that no

  20    one is losing their homes, no one is being put into

  21    debt, and we need to protect all of our New Yorkers,

  22    ah, from the consequences of what is going on.           Thank

  23    you.

  24

  25
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   1   STATED MEETING                                       72

   2                 MAJORITY LEADER CUMBO:      Thank you so

   3    much.   I'm so glad to see you doing better.        Council

   4    Member Treyger.

   5                 SERGEANT AT ARMS:     Council Member

   6    Treyger, your time will start now.

   7                 COUNCIL MEMBER TREYGER:      Thank you,

   8    Majority Leader.     Thank you to the Speaker, ah, to

   9    the staff, to all my colleagues.        Ah, I extended best

  10    wishes and speedy recoveries to all of us, ah, and

  11    all of our communities that have been greatly

  12    impacted.    And thank you to our staff, both central

  13    and all of our member office staff, who have

  14    literally signed thousands of seniors up for

  15    deliveries, meals, ah, for helping with unemployment

  16    insurance.    Ah, our staff is doing amazing work.           I

  17    want to thank them all and thank you to [inaudible]

  18    staff are keeping democracy going in this crisis.             Of

  19    course, I want to extend our heartfelt appreciation

  20    and thanks to our healthcare heroes, our emergency

  21    first responders.     I want to note for the record that

  22    there are hospital executives, ah, hiding out in

  23    mansions in Florida or in the Hamptons while EMTs in

  24    New York City who are dying from their lives on the

  25    line still making $35,000 a year, seeing great pay
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   1   STATED MEETING                                       73

   2    disparity.    We must address that once and for all.

   3    And I want to just clarify something for the record.

   4    We keep hearing city, state, federal leaders keep

   5    referring to schools as being closed.        I want to

   6    clarify that the work of our educators continue.             I

   7    speak not just as the education chair, but as a

   8    former public school teacher who speaks to my

   9    colleagues.    It would take me a long time to map

  10    curriculum for the year ahead.       The work of our

  11    educators has been nothing short of extraordinary.

  12    To those educators who have lost colleagues, who are

  13    grieving...

  14                  SERGEANT AT ARMS:     30 seconds.

  15                  COUNCIL MEMBER TREYGER: ...and their

  16    families and their school communities, we see you.

  17    The fact that our educators have put together

  18    curriculum maps online in this new era of remote

  19    learning in under a week or two weeks, we see you.

  20    The fact that you're still teaching and educating

  21    while taking care of your families and grieving

  22    losses, we see you.     The fact you're doing wellness

  23    calls to your students, checking in on them, their

  24    wellness at home.     We see you.    The fact that

  25
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   1   STATED MEETING                                       74

   2    educators are raising money from their own pockets to

   3    feed their kids...

   4                  SERGEANT AT ARMS:    Time's up.

   5                  COUNCIL MEMBER TREYGER: ...to feed their

   6    students, and to buy them clothes, we see you, and I

   7    hope my colleagues will see them and we hear them in

   8    the budget process.     Thank you, Mr. Speaker, for your

   9    time.

  10                  MAJORITY LEADER CUMBO:     Thank you,

  11    Council Member Treyger, and thank you for your

  12    passion and your persistence.       I'd now like to call

  13    on Council Member Lander, followed by Council Member

  14    Van Bramer.

  15                  SERGEANT AT ARMS:    Council Member Lander,

  16    your time is starting now.

  17                  COUNCIL MEMBER LANDER:     Thank you,

  18    Majority Leader, and thank you, Speaker Johnson, and

  19    a big thanks to the staff who made this possible.

  20    And I also want to echo to my own staff, who are just

  21    working extraordinarily hard.       Colleagues, it is

  22    unbelievably powerful to be with you right now.

  23    These are some of the darkest times that we will live

  24    through, some of the darkest times of any generation

  25    and we're seeing extraordinary pain and anguish in
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   1   STATED MEETING                                       75

   2    the families who are suffering, in the workers who

   3    have to be out there, and people who have lost their

   4    jobs, are afraid of losing their homes, but we are

   5    also seeing some incredible courage, some of the most

   6    courageous action we've ever seen, obviously in our

   7    emergencies and in our hospitals, but by so many of

   8    our essential workers as well.       And I'm glad that we

   9    are back in business today trying to do our part,

  10    inspired by those workers to honor it and to make

  11    sure we live up to what we're saying.        So I know that

  12    many of you, like me, love going out at 7:00 p.m.

  13    every night and banging pots and pans and screaming

  14    as loudly as we can to say thank you to the people

  15    who are stocking the shelves in our grocery stores,

  16    delivering food and supplies, driving people to work

  17    and appointments, and caring for sick New Yorkers in

  18    our hospitals and our nursing homes.        But let's

  19    remember so many of those people are low-income New

  20    Yorkers, they're working in low-wage jobs.         They're

  21    women.   They're people of color.       And we might be

  22    banging pots and pans but we haven't done enough to

  23    make sure that they've got the pay and the sick leave

  24    and the workplace protections and the dignity that

  25    they so deeply deserve.
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   1   STATED MEETING                                       76

   2                 SERGEANT AT ARMS:     30 seconds.

   3                 COUNCIL MEMBER LANDER:      So I'm proud

   4    today along with the Speaker, Council Member Kallos,

   5    and Council Member Cumbo to be introducing the New

   6    York City Essential Worker Bill of Rights, which will

   7    go beyond cheering to make sure that our [inaudible]

   8    workers have paid sick leave, that workers can't be

   9    fired for speaking about health and safety

  10    conditions, and making sure people get some extra pay

  11    if they are working for large companies and having

  12    the courage to go out and work in this period of

  13    time.   It's a powerful piece of legislation, ah, a

  14    package of legislation.      I really hope people join

  15    us.

  16                 SERGEANT AT ARMS:     Your time's up.

  17                 COUNCIL MEMBER LANDER:      Thank you very

  18    much.

  19                 MAJORITY LEADER CUMBO:      Thank you so

  20    much, Council Member Lander, and I stand corrected.

  21    We have Council Member Reynoso followed by Council

  22    Member Van Bramer, and then followed by Council

  23    Member Cabrera.

  24                 SERGEANT AT ARMS:     Council Member

  25    Reynoso, your time starts now.
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   1   STATED MEETING                                       77

   2                 COUNCIL MEMBER REYNOSO:      Thank you.     I

   3    also want to make sure that I thank the Sergeant at

   4    Arms for all the work they're doing and participating

   5    and keeping everything in order.        To Lance, um, we're

   6    big process geeks so love the parliamentarian role.

   7    Um, and again, to all the staff, including my staff,

   8    that is working hard during this, ah, this pandemic.

   9    Um, I want to make sure that I state, um, while this

  10    virus, ah, sees us all the same, the inequities in

  11    our communities, um, have made it very clear that

  12    there are certain types of groups of people, um, and

  13    folks of socioeconomic status that are being treated,

  14    um, unfairly or inequitably in our system.         And I

  15    think, ah, it's going to be extremely important

  16    moving forward that business is not done as usual.

  17    We are able to start righting the ship of inequality

  18    after this crisis and I hope that, ah, many of our

  19    colleagues start, ah, drawing a line as to how

  20    exactly we're going to do that.       It is very clear.

  21    There are neighborhoods in South Bronx, North

  22    Brooklyn, and Southeast Queens have the highest rates

  23    of asthma in all of the city and it is no, ah,

  24    because of that it is why they're dying at a higher

  25    rate than anywhere else in the city.        Um, so I think
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   2    it's very important that we start having these

   3    conversations and not concede or compromise in making

   4    sure we drive ourselves out of this equitable, ah,

   5    this inequity.    Ah, I also note that the budget is

   6    something we're talking about right now.         There are

   7    some agencies...

   8                 SERGEANT AT ARMS:     30 seconds.

   9                 COUNCIL MEMBER REYNOSO:      ...like NYPD

  10    that has not taken the same steps as, as other

  11    agencies, like the Department of Education, when it

  12    comes to cuts that need to happen so that we can

  13    start talking about equity again.        And then we also

  14    have, um, initiatives like Thrive that don't

  15    necessarily do the job that we thought they should be

  16    doing that have also not taken enough cuts.         So we

  17    should really have a conversation about where these

  18    cuts are coming from and stop, ah, [inaudible] for

  19    the initiatives that are supposed to bring about

  20    equity, um, to continue to get [inaudible].

  21                 SERGEANT AT ARMS:     Time's up.

  22                 COUNCIL MEMBER REYNOSO:      Thank you.

  23                 MAJORITY LEADER CUMBO:      Thank you.

  24    Council Member Van Bramer.

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   2                 COUNCIL MEMBER VAN BRAMER:       Thank you

   3    very much.

   4                 SERGEANT AT ARMS:     Council Member Van

   5    Bramer, your time will start now.

   6                 COUNCIL MEMBER VAN BRAMER:       Thank you.     I

   7    want to thank the Speaker and the entire staff for

   8    making this possible.      Ah, I, too, want to begin by

   9    thanking the members of my staff who have been

  10    working nonstop at home since this all begin.            I also

  11    want to recognize the public housing residents, ah,

  12    the good folks of Queensbridge, Ravenswood, Woodside

  13    Houses, Astoria Houses, um, ah, just now we're

  14    hearing all of these plans from the governor and the

  15    mayor to talk about how we're going to help people in

  16    public housing, but that's about eight weeks later

  17    than we should have had a plan to talk about how we

  18    were going to help folks in public housing, um, get

  19    through this crisis.     Um, I also want to talk about

  20    the fact that, ah, when we talk about essential

  21    workers and I'm proud of the work this council is

  22    doing in expanding the definition, but, ah, I was

  23    raised by a woman who worked in a supermarket, ah,

  24    and my stepfather was a janitor who cleaned, ah, the

  25    floors and the bathrooms at Junior High School 10 in
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   1   STATED MEETING                                       80

   2    Astoria.   Ah, grocery store workers and janitors are

   3    essential workers and so many of them have put their

   4    lives on the line during this crisis.        Ah, every time

   5    I go to a supermarket, ah, I thank profusely, ah, the

   6    men and women who are working there, risking their

   7    lives so that other people can eat.        Um, and I just

   8    want to say, again, thank you to all of the first

   9    responders, all of the people who gather together...

  10                 SERGEANT AT ARMS:     30 seconds.

  11                 COUNCIL MEMBER VAN BRAMER: ...and I'm

  12    wearing this tie, as you can see.        I mentioned Mayer

  13    Gomoras, ah, who helped raise me, who was a huge Met

  14    fan, and this tie, I wore it in his honor.         It is a

  15    red and blue tie.     It is the colors of the Mets.          And

  16    finally I want to recognize because we will rename

  17    the street [inaudible] who was a great Irish LGBT

  18    activist who died of COVID-19 and I want to recognize

  19    him.    There will be plenty of more time to talk about

  20    his legacy going forward.      But thank you to him as

  21    well.

  22                 SERGEANT AT ARMS:     Time's up.

  23                 COUNCIL MEMBER VAN BRAMER:       Thank you so

  24    much.

  25
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   1   STATED MEETING                                       81

   2                 MAJORITY LEADER CUMBO:      Thank you.      We

   3    will now hear from Council Members, and I'm also

   4    making a correction, Yeger, Levin, and then Cabrera.

   5                 SERGEANT AT ARMS:     Council Member, your

   6    time will start now.

   7                 COUNCIL MEMBER YEGER:      Thank you, Madam

   8    President.    Um, I, I also want to add my thanks, as

   9    has been mentioned before on this floor, ah, to, ah,

  10    the members of the staff of the City Council,

  11    particularly Jason, members of the general counsel

  12    team, and the folks who worked very hard to, ah, get

  13    this meeting off and to get our operations complete.

  14    I also want to thank my own staff, who have been

  15    working incredibly hard to keep our office

  16    operational, um, and to, ah, ah, keep serving the

  17    people who, that needs us at the City Council.           Um,

  18    I, I think I would be remiss if I don't take a few

  19    seconds at least to honor, um, in more time, ah, than

  20    I have available he deserves, my predecessor,

  21    Councilman Noach Dear, justice of the Supreme Court,

  22    um, who was taken at the prime of his life, somebody

  23    who had given so much to his community, ah, somebody

  24    who was a friend of mine, um, and a friend of so

  25    many, and who was leader in our body for 18 years,
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   1   STATED MEETING                                        82

   2    was elected to the City Council when I was still in

   3    my single digits and I have known him practically my

   4    entire life, and it was a shocking and tremendous

   5    loss.   Um, and this is not to belittle the losses

   6    that all communities in this city have seen.          Ah, we

   7    have all lost so many.      Ah, my grandmother passed

   8    away last week, Monday.      Ah, the [inaudible] who is,

   9    was a giant in Torah Jewry who gave so much of his

  10    life to help build our community here in America, was

  11    taken from us prior to his time in a tragic way.

  12                 SERGEANT AT ARMS:     30 seconds.

  13                 COUNCIL MEMBER YEGER:      Ah, my own

  14    rashishiva of [inaudible] and of course this needs to

  15    be mentioned, ah, the dozens and dozens of names that

  16    I know, ah, people who were able to escape the

  17    brutality of Hitler and the Nazis, and who were

  18    survivors of the Holocaust, and whose numbers I

  19    touched on their arms who have lost their lives in

  20    the last several days at least, and I honor their

  21    memory, and I will continue doing that.         Thank you,

  22    Madam President.

  23                 MAJORITY LEADER CUMBO:      Thank you,

  24    Council Member Yeger.      And we will now hear from

  25    Council Member Levin and then Cabrera.
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   1   STATED MEETING                                       83

   2                 COUNCIL MEMBER LEVIN:      Thank you, Madam.

   3                 SERGEANT AT ARMS:     Council Member Levin,

   4    your time will start now.

   5                 COUNCIL MEMBER LEVIN:      Thank you, Madam

   6    Majority Leader.     Um, I just want to echo my

   7    colleagues' sentiments.      I am extending our

   8    condolences to everybody that has lost a loved one,

   9    um, everybody who has, um, ah, who has gone through,

  10    um, a painful illness, um, this has been, um, one of

  11    the darkest hours that our city has ever known and,

  12    ah, it is devastating and heartbreaking, ah, for all

  13    of us and we extend our love to, to everybody in New

  14    York City who is suffering today.        We want to

  15    acknowledge all of the tremendous work that our

  16    healthcare workers, our first responders, everybody

  17    that's going to work in every essential capacity,

  18    grocery stores, pharmacies, delivery workers, ah,

  19    people at, working at an auto body shop or, um, tire

  20    changing place, ah, everybody that's doing a

  21    tremendous amount of, putting themselves out on the

  22    line, um, in the service of your fellow New Yorker,

  23    um, we express our gratitude.       Um, colleagues, I, I'm

  24    introducing...

  25                 SERGEANT AT ARMS:     30 seconds.
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   2                 COUNCIL MEMBER LEVIN: ...a piece of

   3    legislation today as well, Intro 1927, which would

   4    extend to individuals in shelter, in a congregate

   5    setting, or in, ah, unsheltered environment, um, the

   6    right to a hotel room during this crisis.         The fact

   7    of the matter is there are still thousands upon

   8    thousands of New Yorkers who are in congregate

   9    shelters, um, is a very dangerous and risky place to

  10    be, um, and we owe it to them...

  11                 SERGEANT AT ARMS:     Time's up.

  12                 COUNCIL MEMBER LEVIN: ...to be able to

  13    put them, um, in appropriate setting so that we can

  14    avoid an outbreak, um, on our watch in our shelter

  15    system.   So I ask my colleagues to sign onto Intro

  16    1927.   Thank you.

  17                 MAJORITY LEADER CUMBO:      Thank you, and

  18    Council Member Cabrera.

  19                 COUNCIL MEMBER CABRERA:      Thank you so

  20    much.

  21                 SERGEANT AT ARMS:     Council Member

  22    Cabrera, your time will start now.

  23                 COUNCIL MEMBER CABRERA:      Thank you so

  24    much, and I can see the time clock, so, ah, no need

  25    for the reminder at 30 seconds.       But I want to take,
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   1   STATED MEETING                                       85

   2    I give a, ah, take a moment to thank the Speaker, ah,

   3    to all my colleagues, ah, very early one, as you

   4    know, my son came down with coronavirus, um, I was

   5    probably the first elected official to have a family

   6    member go through this.      I had all kinds of, ah,

   7    feelings.   I was scared.     I was, ah, upset.     I was,

   8    um, I think I felt all the feelings that a father

   9    could feel.    And then my daughter came down with it,

  10    their spouses, their, my grandchildren, and, ah, the

  11    reason I'm mentioning, ah, this right now, I don't

  12    want us to go through what we could have done before.

  13    We could have done the quarantine before.         We, we

  14    should have done the testing, the appropriate testing

  15    and we were not prepared.      And so we're talking about

  16    inequities, ah, inequities right now.        Let me just

  17    say that I'm hopeful that we're not waiting until

  18    this is over, ah, for the inequities to be taken care

  19    of.    We need to address them now.      Now that we're

  20    going to have antibody tests.       They're already

  21    starting.     This should be in our, in the deepest,

  22    hardest hit, ah, area should be taking place and

  23    areas that was most affected, the help needs to come

  24    now.   This recession is gonna last.       Ah, it's not

  25    gonna be gone in a year.      It's gonna take years for
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   1   STATED MEETING                                       86

   2    us to recover.    So we need to be wise.       We need to,

   3    ah, appropriate all the funding that we need, and we

   4    need to do it now as we go through this budget and to

   5    be able to, ah, stand proud in June to make sure that

   6    we have, ah, a good budget for all.        Thank you so

   7    much.

   8                 MAJORITY LEADER CUMBO:      Thank you, and

   9    Council Member Rose.

  10                 SERGEANT AT ARMS:     Council Member Rose,

  11    your time will start now.

  12                 COUNCIL MEMBER ROSE:      Thank you.    Um,

  13    like all of my colleagues I want to say thank you to

  14    the speaker, our colleagues in government, for all of

  15    their efforts on behalf of, of the citizens of New

  16    York City.    But I want to thank more especially the

  17    first responders and the essential workers for all

  18    that they have done and their selfless efforts to

  19    keep all of us safe and healthy.        Um, you know, there

  20    were some inequities in terms of treatment, um,

  21    within the categories of first responders and

  22    essential workers, and I hope that we are going to

  23    make sure that that doesn't happen, that the workers

  24    who are working in the nursing homes and the group

  25    homes, um, and in the shelters are equally as
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   1   STATED MEETING                                       87

   2    protected as the workers in, um, in other areas that,

   3    you know, none of our civil servants should have to

   4    put their lives in jeopardy.       So I, I want us to

   5    continue the fight for them.       And I want to say to,

   6    um, Teens in Charge take charge, that of course we're

   7    gonna fight for SYEP and, um, that my colleagues are,

   8    are behind us and we're going to make sure that there

   9    is some kind of programming for young people this

  10    summer.    So you don't have to waste your efforts on

  11    us, go talk to the administration about saving, um,

  12    SYEP.     Thank you.

  13                  MAJORITY LEADER CUMBO:     Thank you so

  14    much, Council Member Rose, and thank you so much for

  15    your leadership and your fight for our young people.

  16    Now Council Member Holden.

  17                  COUNCIL MEMBER HOLDEN:     Hi, thank you

  18    everyone, and certainly...

  19                  SERGEANT AT ARMS:    Council Member Holden,

  20    your time will start now.

  21                  COUNCIL MEMBER HOLDEN:     Thank you again.

  22    Ah, I want to thank Corey Johnson, Speaker, done a

  23    great job during the pandemic, along with Jason

  24    Goldman, to set up this historic, um, meeting, which

  25    is, ah, I love being part of the City Council, but
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   1   STATED MEETING                                       88

   2    doing this is such a, a task, I can imagine, and I

   3    want to thank him again.      I want to thank my great

   4    staff who are working really hard during this

   5    pandemic and it puts, it's a lot of stress on

   6    everyone.    But also I want to just mention about the

   7    people who have lost loved notes and right now, I

   8    have a lot of cemeteries in my district, and we're

   9    seeing a lot of funerals.      But the cemeteries have

  10    cut back, ah, on their burials because of the lack of

  11    staff.   So they need help.     I wrote to the mayor,

  12    wrote to the governor a number of times, tried to get

  13    the out-of-work construction workers to help out, ah,

  14    in, in the cemeteries, and get paid for it.         Um,

  15    because we're waiting now, families are calling me,

  16    they're waiting two and three weeks for funerals.

  17    And it, and it really puts more stress on them,

  18    obviously.    So we really need to step up as a city

  19    and help out the cemeteries.       So thank you again,

  20    everyone, and really stay safe.       Thank you.

  21                 SPEAKER JOHNSON:     Thanks, Bob, to you and

  22    Amy and your kids and grandkids.

  23                 COUNCIL MEMBER HOLDEN:      Thanks so much.

  24

  25
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   2                 MAJORITY LEADER CUMBO:      Thank you.      Are

   3    there any other members who are on the list to speak,

   4    Parliamentarian?

   5                 LANCE POLIVY: No, Madam Majority Leader.

   6    There are no other members.

   7                 MAJORITY LEADER CUMBO:      I just want to

   8    close out by thanking again Speaker Corey Johnson and

   9    all my colleagues here today.       Um, this is historic

  10    and it's unprecedented, and there's nothing harder, I

  11    would say, that all of us has experienced as being

  12    leaders to have to lead from inside.        We naturally

  13    want to be up front.     We naturally want to be at the

  14    forefront, and for me as a mom of a 2-year-old with

  15    two parents that are both over the age of 80 it has

  16    been the hardest thing as a leader to have to stay

  17    indoors and to have to lead my community at the same

  18    time.   But I want to thank this council because you

  19    all have led the efforts from everything from

  20    fighting to close our schools, to alternate side of

  21    the street parking suspensions, to closing our

  22    playgrounds, for the fight for our small businesses,

  23    for the fight for PPE.      Because we know that we sent

  24    many people, many black and brown people, many women

  25    of color, onto the frontlines without protective
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   1   STATED MEETING                                       90

   2    gear.   And it's a tragedy that they were sent out in

   3    that way.   And we're going to do everything that we

   4    can in our council to fight for them, to make sure

   5    that we right these wrongs and that we continue to

   6    fight for them.     Because they have made it so that

   7    many of us could lead from inside. So I want to thank

   8    everybody, especially on the council, for what we

   9    did, to get emergency food aid to many of our shut-

  10    ins, for many of our seniors who could not go out and

  11    get food, who could not go out and get the packages

  12    of food from the food pantries and the deliveries

  13    that have been made.     I want to lift up Mutual Aid in

  14    one community in my district who have been working

  15    with our NYCHA tenant leaders, many of them who are

  16    senior citizens, who are out on the frontlines

  17    getting the food for the seniors, and they themselves

  18    can't be out there.     And should not be out there.

  19    And I, I just want to thank my staff.        It's so hard

  20    to call staff to give them an assignment and you find

  21    out that they're on their way to the hospital, or

  22    they have to get tested, or their kids are sick, or

  23    their parents are sick.      This has been really a very

  24    challenging time.     And I just want to lift up while

  25    there have been so many passings in my district, I
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   1   STATED MEETING                                       91

   2    want to lift up Dr. Roy Hastick who is the founder of

   3    the Chamber of the, the Caribbean American Chamber of

   4    Commerce, who is a king of Brooklyn, who has done so

   5    much to advance local businesses in the Caribbean

   6    community, as well as Pastor Gwen Dingle who has been

   7    a fighter and a champion on the front lines of the

   8    HIV movement.    She is a powerful leader and we are so

   9    sorry that we have lost her as well.        And, and we're

  10    gonna continue to look forward and, and to continue

  11    to lead, and thank you so much, and I beg of you,

  12    please stay home.     This is not over.     While the

  13    numbers are leveling this is far from over, and we

  14    have to continue to stay at home, practice social

  15    distancing, to wear our masks, and to take this very

  16    seriously.    So with that, Speaker Corey Johnson, I

  17    turn it over to you to close out this meeting.           Thank

  18    you for your leadership.      Thank you for bringing this

  19    body together, and thank you for hosting this

  20    unprecedent meeting that has kept us all at home

  21    today and is a thankful wish to Earth Day that we

  22    were not out there and gave the earth a break.           Thank

  23    you so much.

  24                 SPEAKER JOHNSON:     Thank you, Madam

  25    Majority Leader, for those incredibly moving, ah,
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   2    closing remarks.     I'm really grateful for your

   3    leadership and I just want to wrap up by thanking all

   4    of you, all of the members of this body who have been

   5    working around the clock to serve your constituents

   6    and to look out for the future of New York City.             I

   7    want to echo and reiterate some of the, I think, very

   8    poignant and, ah, smart and helpful remarks that the

   9    Majority Leader just gave, especially as it relates

  10    to how we are all in this together.        Ah, we need to

  11    continue to practice social distancing.         You know,

  12    three weeks ago we were losing 900 New Yorkers a day.

  13    Now the number is down to about 450, half of the

  14    that.   But that is still an astounding number of

  15    people who are dying every single day of COVID-19 in

  16    New York City.    And as painful and difficult as it is

  17    for New Yorkers to be social distanced right now and

  18    physically isolated, it is so important for us to do

  19    that because we need to relieve and keep that

  20    pressure off of our healthcare system.         We need to

  21    think about these healthcare heroes, making their

  22    jobs easier.    These folks that are scared every

  23    single day leaving their homes, leaving their loved

  24    ones and their children, going into work to save

  25    other people.    We need to think about these grocery
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   1   STATED MEETING                                       93

   2    store workers who are getting on the subway, every

   3    single day, leaving their homes that New Yorkers can

   4    still get food.     We have to think about the NYPD

   5    officers and the firefighters and the correction

   6    officers, the subway conductors and the bus drivers,

   7    the postal workers and the pharmacists.         All of these

   8    workers that are keeping our city going right now.

   9    They are our heroes and we are immensely, immensely

  10    grateful for what they have done during this time.

  11    We need to lift them up by making sure they are

  12    protected and paid better, but also to keep them safe

  13    by continuing the social distancing that's in place.

  14    We're gonna have to start to have the conversation

  15    about what mass testing looks like, about what

  16    contact tracing looks like, about what surveillance

  17    looks like, so that we can actually go at this virus

  18    and take it, ah, and do our best to make sure that we

  19    are able to safely at some point reopen and do it in

  20    the right way, not in a rushed way or a rash way, but

  21    in a smart way, by looking at what other cities and

  22    countries around the world have been doing.         This

  23    City Council I want New Yorkers to know, all of the

  24    members have been working every single day to serve

  25    their communities and to look at these broader issues
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   1   STATED MEETING                                       94

   2    that are affecting our great city.        I think it's

   3    important to level with New Yorkers about how

   4    difficult this is and how the days ahead are gonna be

   5    difficult, but also talk about the hope that I have.

   6    It's gonna be difficult because there's going to be a

   7    shared sacrifice involved.      A shared sacrifice as it

   8    relates to making painful budget decisions we would

   9    never want to contemplate.      Ah, difficult because

  10    we're gonna have to continue, even when we start to

  11    try to, ah, reopen in a small way with mandatory mask

  12    wearing and social distancing and the things that are

  13    going to be required of us.       These things are gonna

  14    change our way of life.      But I am hopeful.     And I am

  15    hopeful because our city is the greatest city in the

  16    world, and it's greatest city in the world not

  17    because of our geography, but because of the 8.6

  18    million New Yorkers who live here.        They are the

  19    beating heart of New York City.       They are the soul of

  20    New York City.    We are the most diverse city in the

  21    United States of America.      Queens County is the most

  22    diverse county in the United States of America.          And

  23    we have seen incredible sacrifice and solidarity

  24    during the last five to six weeks.        We have seen

  25    neighbors take care of neighbors.        We have seen
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   2    people do food deliveries.      We have seen these

   3    essential workers put their lives on the line.           We

   4    have seen young people delivering groceries to older

   5    people.   We have seen all of this in one of the most

   6    painful moments in our history.       And I have hope that

   7    we can get through this.      We will be a changed city.

   8    Our city will not be the same.       But we can still come

   9    back if we remain united, if we are compassionate and

  10    kind and strategic and thoughtful about how to get

  11    through this.    And that is going to require us

  12    looking at some of the hard and glaring truths that

  13    exist, the truths on disparities, the truths on, ah,

  14    structural racism that exist in our society.          And I

  15    hope that we can take this moment as a transformation

  16    point.    In the 1940s after the war the UK decided to

  17    set up the NHS, their national healthcare service,

  18    knowing they needed to do something transformational.

  19    It is my hope that we'll be able to do something

  20    transformational here.      Healthcare needs to be a

  21    basic civil right, not tied to employment and not

  22    tied to profit.     We need to make sure that all New

  23    Yorkers are being protected and you have seen these

  24    frontline workers, most of them black and brown

  25    people, most of them black and brown women, who have
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   2    continued to step up day after day.        We need to

   3    recognize that.     We need to honor them and protect

   4    them and make decisions that are going to help them

   5    and their families moving forward.        That is the best

   6    way to actually honor the lives of all the New

   7    Yorkers that we have lost.      Our north star in this

   8    budget process and moving forward is to take care and

   9    protect the most vulnerable, to ensure that we are

  10    doing right by all these families that have lost

  11    loved ones and the families that continue to

  12    sacrifice every single day.       These glaring holes in

  13    our social safety net, when it comes to housing and

  14    food and healthcare and wages are more glaring than

  15    ever right now in the midst of this pandemic.            But if

  16    we stay united, if we stay one New York, just like we

  17    got through the fiscal crisis of the 1970s, just like

  18    we got through 9/11 together, just like we got

  19    through the Great Recession together, and just like

  20    we got Thursday Hurricane Sandy together.         We can get

  21    through this.    But we need to look out for our young

  22    people and our seniors and our public housing

  23    residents and our healthcare works and our essential

  24    workers and all of these folks that are counting on

  25    us.   That needs to be our north star.       So I am
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   1   STATED MEETING                                       97

   2    incredibly grateful for the staff that made today

   3    possible.   I'm grateful to all of you for being part

   4    of this historic meeting today.       We have committee

   5    hearings coming up tomorrow and Friday and next week,

   6    and I want to thank you all for your solidarity and

   7    for your continued support and working together to

   8    help our city get out of one of the biggest crises

   9    that we've ever faced.      So I want to thank you, Madam

  10    Majority Leader, for doing a wonderful job today and

  11    being the presiding officer of this meeting.          I want

  12    to thank Lance Polivy for being our parliamentarian

  13    and doing a great job.      I want to thank all of the

  14    sergeants who have been on the call, led by Carl

  15    D'Alba, our director of security.        I want to Jason

  16    Goldman, my chief of staff, and all of the, ah, all

  17    of the, ah, central staff members of the council and

  18    district office members who have been working

  19    remotely, serving constituents, getting us up and

  20    going, drafting bills, working on the city's budget.

  21    We have been working around the clock and we will

  22    continue to do that.     So with that, Madam Majority

  23    Leader, I want to sign off and tell New York City I

  24    love you.   We love this great city and we will get

  25    through this together.      So with that, the Stated
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   1   STATED MEETING                                       98

   2    Meeting of April 22, 2020, is now adjourned.

   3    Godspeed.   Be safe, New York City.       We're here for

   4    you.

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                          C E R T I F I C A T E




        World Wide Dictation certifies that the

        foregoing transcript is a true and accurate

        record of the proceedings. We further certify that

        there is no relation to any of the parties to

        this action by blood or marriage, and that there

        is interest in the outcome of this matter.




        Date ____April 24, 2020____________
